Case 22-05004   Doc 1-1   Filed 04/18/22   Entered 04/18/22 13:21:46   Page 1 of 48




                                   EXHIBIT A


                  STATE COURT LAWSUIT DOCKET SHEET
4/14/22, 1:08Case
             PM     22-05004          Doc 1-1         Filed 04/18/22    Entered
                                                                  Case Detail       04/18/22 13:21:46
                                                                              - UWY-CV18-6046436-S                                Page 2 of 48




                                        UWY-CV18-
 Superior Court Case Look-up                                    LAFFERTY, ERICA Et Al v. JONES, ALEX EMRIC Et Al
                                      6046436-S
  Civil/Family
  Housing                             Prefix: X06               Case Type: T50             File Date: 05/23/2018            Return Date: 06/26/2018
  Small Claims                        Case Detail     Notices    History    Scheduled Court Dates       E-Services Login        Screen Section Help
 -
 Attorney/Firm Juris Number Look-up                                                         To receive an email when there is activity on this case, click here.
 -
 Case Look-up
  By Party Name                                                              This case is consolidated with one or more cases
  By Docket Number
  By Attorney/Firm Juris Number
  By Property Address                  Information Updated as of: 04/14/2022
 -
 Short Calendar Look-up                                                                      Case Information
  By Court Location                                       Case Type:     T50 - Torts - Defamation
  By Attorney/Firm Juris Number                      Court Location:     WATERBURY JD
  Motion to Seal or Close                                   List Type:   No List Type
  Calendar Notices                                   Trial List Claim:
 -
 Court Events Look-up                               Last Action Date:    04/14/2022 (The "last action date" is the date the information was entered in the system)
  By Date
  By Docket Number                                                                       Disposition Information
  By Attorney/Firm Juris Number
 -                                                  Disposition Date:
 Legal Notices                                          Disposition:
 -
                                               Judge or Magistrate:
 Pending Foreclosure Sales
 -
 Understanding                                                                       Party & Appearance Information
 Display of Case Information
 -                                                                                                                                                No
 Contact Us                            Party                                                                                                      Fee    Category
                                                                                                                                                 Party
                                        P-01 ERICA LAFFERTY                                                                                              Plaintiff
                                             REMOVED
                                        P-02 DAVID WHEELER                                                                                               Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
              Comments
                                        P-03 FRANCINE WHEELER                                                                                            Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-04 JACQUELINE BARDEN                                                                                           Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-05 MARK BARDEN                                                                                                 Plaintiff
                                             Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                            File Date: 05/23/2018
                                                       350 FAIRFIELD AVENUE
                                                       BRIDGEPORT, CT 06604
                                        P-06 NICOLE HOCKLEY                                                                                              Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-07 IAN HOCKLEY                                                                                                 Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-08 JENNIFER HENSEL                                                                                             Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-09 JEREMY RICHMAN                                                                                              Plaintiff
                                             REMOVED
                                        P-10 DONNA SOTO                                                                                                  Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)                           File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-11 CARLEE SOTO-PARISI                                                                                          Plaintiff
                                              Attorney: KOSKOFF KOSKOFF & BIEDER PC (032250)                             File Date: 05/23/2018

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                                       1/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S              Page 3 of 48
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-12 CARLOS M. SOTO                                                                    Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)       File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-13 JILLIAN SOTO                                                                      Plaintiff
                                              Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)       File Date: 05/23/2018
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                        P-14 WILLIAM ALDENBERG                                                                 Plaintiff
                                             Attorney:   KOSKOFF KOSKOFF & BIEDER PC (032250)        File Date: 05/23/2018
                                                       350 FAIRFIELD AVENUE
                                                       BRIDGEPORT, CT 06604
                                        P-15 JENNIFER HENSEL EXECUTRIX OF THE ESTATE OF JEREMY RICHMAN                        Plaintiff -
                                             REMOVED                                                                         Substituted
                                        P-16 RICHARD M COAN TRUSTEE OF THE BANKRUPTCY ESTATE OF ERICA GARBATINI               Plaintiff -
                                              Attorney: KOSKOFF KOSKOFF & BIEDER PC (032250)     File Date: 10/20/2021       Substituted
                                                        350 FAIRFIELD AVENUE
                                                        BRIDGEPORT, CT 06604
                                       D-01 ALEX EMRIC JONES                                                                 Defendant
                                             Attorney:   NORMAN ALEXANDER PATTIS (408681)            File Date: 02/17/2022
                                                       383 ORANGE ST, 1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   PATTIS & SMITH LLC (423934)                 File Date: 03/08/2022
                                                       383 ORANGE STREET
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   CAMERON L ATKINSON (442289)                 File Date: 03/08/2022
                                                       383 ORANGE ST
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                       D-02 INFOWARS, LLC                                                                    Defendant
                                             Attorney:   PATTIS & SMITH LLC (423934)                 File Date: 06/28/2021
                                                       383 ORANGE STREET
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   NORMAN ALEXANDER PATTIS (408681)            File Date: 02/17/2022
                                                       383 ORANGE ST, 1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   CAMERON L ATKINSON (442289)                 File Date: 03/08/2022
                                                       383 ORANGE ST
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                       D-03 FREE SPEECH SYSTEMS, LLC                                                         Defendant
                                             Attorney:   PATTIS & SMITH LLC (423934)                 File Date: 06/28/2021
                                                       383 ORANGE STREET
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   NORMAN ALEXANDER PATTIS (408681)            File Date: 02/17/2022
                                                       383 ORANGE ST, 1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   CAMERON L ATKINSON (442289)                 File Date: 03/08/2022
                                                       383 ORANGE ST
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                       D-04 INFOWARS HEALTH LLC                                                              Defendant
                                             Attorney:   PATTIS & SMITH LLC (423934)                 File Date: 06/28/2021
                                                       383 ORANGE STREET
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   NORMAN ALEXANDER PATTIS (408681)            File Date: 02/17/2022
                                                       383 ORANGE ST, 1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   CAMERON L ATKINSON (442289)                 File Date: 03/08/2022
                                                       383 ORANGE ST
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                       D-05 PRISON PLANET TV LLC                                                             Defendant
                                             Attorney:   PATTIS & SMITH LLC (423934)                 File Date: 06/28/2021
                                                       383 ORANGE STREET
                                                       1ST FLOOR
                                                       NEW HAVEN, CT 06511
                                             Attorney:   NORMAN ALEXANDER PATTIS (408681)            File Date: 02/17/2022
                                                       383 ORANGE ST, 1ST FLOOR

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                             2/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1             Filed 04/18/22    Entered
                                                                     Case Detail       04/18/22 13:21:46
                                                                                 - UWY-CV18-6046436-S                                 Page 4 of 48
                                                          NEW HAVEN, CT 06511
                                                Attorney:   CAMERON L ATKINSON (442289)                                      File Date: 03/08/2022
                                                          383 ORANGE ST
                                                          1ST FLOOR
                                                          NEW HAVEN, CT 06511
                                       D-06 WOLFGANG HALBIG                                                                                                 Defendant
                                            REMOVED
                                       D-07 CORY T. SKLANKA                                                                                                 Defendant
                                            REMOVED
                                       D-08 GENESIS COMMUNICATIONS NETWORK, INC.                                                                            Defendant
                                            Attorney:   BRIGNOLE BUSH & LEWIS (419073)                                       File Date: 04/28/2021
                                                      73 WADSWORTH STREET
                                                      HARTFORD, CT 06106
                                       D-09 MIDAS RESOURCES, INC.                                                                                           Defendant
                                            REMOVED
                                       D-10 MIDAS RESOURCES, INC.                                                                                           Defendant
                                            REMOVED
                                       O-01 RICHARD M COAN TRUSTEE OF THE BANKRUPTCY ESTATE OF ERICA GARBATINI                                               Trustee
                                             Attorney:   ZEISLER & ZEISLER P.C. (069625)        File Date: 07/22/2021
                                                       10 MIDDLE STREET
                                                       15TH FLOOR
                                                       BRIDGEPORT, CT 06604
                                       O-02 JAMES H. FETZER PHD                                                                                             Intervening
                                            REMOVED                                                                                                            Entity
                                       O-03 JAY WOLMAN, ESQ.                                                                                                Intervening
                                             Attorney: HORTON DOWD BARTSCHI & LEVESQUE PC (038478) File Date: 10/18/2021                                       Entity
                                                       90 GILLETT STREET
                                                       HARTFORD, CT 06105
                                       O-04 OFFICE OF CHIEF DISCIPLINARY COUNSEL                                                                            Intervening
                                            Attorney:   OFFICE OF CHIEF DISCIPLINARY COUNSEL (422382) File Date: 11/19/2021                                    Entity
                                                      100 WASHINGTON STREET
                                                      HARTFORD, CT 06106


                                        Viewing Documents on Civil, Housing and Small Claims Cases:

                                        If there is an    in front of the docket number at the top of this page, then the file is electronic (paperless).


                                                Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims cases
                                                with a return date on or after January 1, 2014 are available publicly over the internet.* For more information
                                                on what you can view in all cases, view the Electronic Access to Court Documents Quick Card.

                                                For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available publicly
                                                over the internet. Orders can be viewed by selecting the link to the order from the list below. Notices can be
                                                viewed by clicking the Notices tab above and selecting the link.*

                                                Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial
                                                district courthouse during normal business hours.*

                                                Pleadings or other documents that are not electronic (paperless) can be viewed only during normal
                                                business hours at the Clerk’s Office in the Judicial District where the case is located.*

                                                An Affidavit of Debt is not available publicly over the internet on small claims cases filed before October 16,
                                                2017.*


                                        *Any documents protected by law Or by court order that are Not open to the public cannot be viewed by the public
                                        online And can only be viewed in person at the clerk’s office where the file is located by those authorized by law or
                                        court order to see them.

                                                                              Motions / Pleadings / Documents / Case Status
                                       Entry                   Filed
                                                File Date            Description                                                                            Arguable
                                       No                       By
                                                05/23/2018         P SUMMONS

                                                05/23/2018         P COMPLAINT

                                                05/23/2018         P ADDITIONAL PARTIES PAGE

                                                06/18/2018             APPEARANCE
                                                06/22/2018         D APPEARANCE
                                                                      Appearance
                                                06/28/2018         D APPEARANCE
                                                                      Appearance

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                                           3/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S               Page 5 of 48
                                               06/29/2018    D APPEARANCE
                                                                Appearance
                                               07/06/2018       APPEARANCE
                                               03/01/2019    D APPEARANCE
                                                                Appearance
                                               11/04/2019    D APPEARANCE
                                                                Appearance
                                               02/24/2020    D APPEARANCE
                                                                Appearance
                                               03/18/2020    D APPEARANCE
                                                                Appearance
                                               07/07/2020    D APPEARANCE
                                                                Appearance
                                               07/07/2020    D APPEARANCE
                                                                Appearance
                                               10/19/2020       APPEARANCE
                                               04/28/2021    D APPEARANCE
                                                                Appearance
                                               06/28/2021    D APPEARANCE
                                                                Appearance
                                               07/21/2021       APPEARANCE
                                               07/22/2021    O APPEARANCE
                                                                Appearance
                                               10/18/2021       APPEARANCE
                                                                 W. Horton
                                               10/26/2021       APPEARANCE
                                                                 J. Fetzer PHD
                                               11/19/2021    O APPEARANCE
                                                                Appearance
                                               02/17/2022    D APPEARANCE
                                                                Appearance
                                               03/08/2022    D APPEARANCE
                                                                Appearance
                                               03/08/2022    D APPEARANCE
                                                                Appearance
                                       100.30 05/23/2018     P RETURN OF SERVICE                                             No

                                       101.00 06/11/2018     P SUPPLEMENTAL RETURN                                           No
                                                                Midas - Genesis - Halbig
                                       102.00 06/14/2018     P SUPPLEMENTAL RETURN                                           No
                                                                as to Alex Emric Jones
                                       103.00 06/29/2018     D WITHDRAWAL IN PART                                            No

                                       104.00 07/12/2018     D MOTION TO DISMISS PB 10-30                                    Yes
                                                                RESULT: Denied 4/29/2019 HON BARBARA BELLIS
                                       104.10 04/29/2019     C ORDER                                                         No
                                                                RESULT: Denied 4/29/2019 HON BARBARA BELLIS
                                       105.00 07/13/2018     P SUPPLEMENTAL RETURN                                           No

                                       106.00 07/13/2018     D NOTICE OF REMOVAL TO FEDERAL DISTRICT COURT                   No

                                       107.00 07/13/2018     D REMOVED TO FEDERAL DISTRICT COURT                             No
                                       108.00 07/18/2018     D MOTION TO DISMISS PB 10-30                                    Yes

                                       109.00 07/18/2018     C ENTRY ERASED TO CORRECT ERROR                                 No
                                                                Last Updated: Party Type - 07/18/2018
                                       110.00 07/31/2018     D NOTICE OF REMOVAL TO FEDERAL DISTRICT COURT                   No

                                       111.00 11/09/2018     P CLAIM FOR JURY OF 6                                           No

                                       112.00 11/21/2018     C REMANDED FROM FEDERAL DISTRICT COURT                          No

                                       113.00 11/21/2018     D SPECIAL MOTION TO DISMISS / COUNTERCLAIM / CROSS CLAIM        Yes


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                          4/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 6 of 48
                                       113.10 11/23/2018     C ORDER                                                                             No
                                                                RESULT: Order 11/23/2018 HON BARBARA BELLIS
                                       114.00 11/21/2018     D MEMORANDUM IN SUPPORT OF MOTION                                                   No
                                                                Re: Special Motion to Dismiss (113.00)
                                       115.00 11/29/2018     P SCHEDULING ORDER                                                                  No
                                                                RESULT: Order 11/30/2018 HON BARBARA BELLIS
                                       115.10 11/30/2018     C ORDER                                                                             No
                                                                RESULT: Order 11/30/2018 HON BARBARA BELLIS
                                       116.00 11/29/2018     P CLAIM FOR JURY OF 6                                                               No

                                       117.00 11/29/2018     P MOTION TO CONSOLIDATE                                                             No
                                                                RESULT: Granted 12/17/2018 HON BARBARA BELLIS
                                       117.10 12/17/2018     C ORDER                                                                             No
                                                                RESULT: Granted 12/17/2018 HON BARBARA BELLIS
                                       118.00 12/04/2018     D SPECIAL MOTION TO DISMISS / COUNTERCLAIM / CROSS CLAIM                            Yes

                                       118.10 12/05/2018     C ORDER                                                                             No
                                                                RESULT: Order 12/5/2018 HON BARBARA BELLIS
                                       119.00 12/04/2018     P OBJECTION TO MOTION                                                               No
                                                                Objection to Defendant Halbig's Motion to Dismiss
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       119.10 04/29/2019     C ORDER                                                                             No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       120.00 12/04/2018     P MEMORANDUM OF LAW IN OPPOSITION TO MOTION TO DISMISS PB 10-                       No
                                                               31
                                                                Memorandum in Support of Plaintiffs' Objection to Defendant Halbig's Motion to
                                                               Dismiss
                                       121.00 12/04/2018     D OBJECTION                                                                         No
                                                                RESULT: Order 4/22/2019 HON BARBARA BELLIS
                                       121.10 04/22/2019     C ORDER                                                                             No
                                                                RESULT: Order 4/22/2019 HON BARBARA BELLIS
                                       122.00 12/05/2018     P CASEFLOW REQUEST (JD-CV-116)                                                      No
                                                                re MET to file initial motions re targeted discovery
                                                                RESULT: Granted 12/7/2018 HON BARBARA BELLIS
                                       122.10 12/07/2018     C ORDER                                                                             No
                                                                RESULT: Granted 12/7/2018 HON BARBARA BELLIS
                                       123.00 12/10/2018     P MOTION FOR ORDER                                                                  No
                                                                Motion for Limited Discovery Pursuant to Conn. Gen. Stat. Section 52-196a(d)
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       123.10 12/17/2018     C ORDER                                                                             No
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       124.00 12/12/2018     D MOTION TO DISQUALIFY                                                              No
                                                                RESULT: Denied 4/8/2019 HON BARBARA BELLIS
                                       124.10 04/08/2019     C ORDER                                                                             No
                                                                RESULT: Denied 4/8/2019 HON BARBARA BELLIS
                                       125.00 12/12/2018     D OBJECTION TO MOTION OR REQUEST FOR DISCOVERY PB CH13                              No
                                                                RESULT: Overruled 4/22/2019 HON BARBARA BELLIS
                                       125.10 04/22/2019     C ORDER                                                                             No
                                                                RESULT: Overruled 4/22/2019 HON BARBARA BELLIS
                                       126.00 12/14/2018     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                in Opposition to Plaintiffs' Motion for Limited Discovery (Entry No. 123.00)
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       126.10 12/17/2018     C ORDER                                                                             No
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       127.00 12/14/2018     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Limited Opposition to Motion to Consolidate Cases (Entry No. 117.00)
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       127.10 12/17/2018     C ORDER                                                                             No
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       128.00 12/14/2018     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                in Opposition to Defendant Wolfgang Halbig's Motion to Recuse (Entry No.
                                                               124.00)
                                                                RESULT: Order 4/8/2019 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                              5/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 7 of 48
                                       128.10 04/08/2019     C ORDER                                                                               No
                                                                See order #124.10
                                                                RESULT: Order 4/8/2019 HON BARBARA BELLIS
                                       129.00 12/14/2018     D MEMORANDUM IN OPPOSITION TO MOTION                                                  No
                                                                Opposition to Plaintiff's Motion for Limited Discovery
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       129.10 12/17/2018     C ORDER                                                                               No
                                                                RESULT: Order 12/17/2018 HON BARBARA BELLIS
                                       130.00 12/17/2018     P REPLY MEMORANDUM                                                                    No
                                                                Reply in Support of Motion for Limited Discovery
                                       131.00 12/18/2018     D REPLY                                                                               No
                                                                RESULT: Order 4/8/2019 HON BARBARA BELLIS
                                       131.10 04/08/2019     C ORDER                                                                               No
                                                                See order #124.10
                                                                RESULT: Order 4/8/2019 HON BARBARA BELLIS
                                       132.00 12/24/2018     D REPLY                                                                               No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       132.10 04/29/2019     C ORDER                                                                               No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       133.00 12/24/2018     D REPLY                                                                               No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       133.10 04/29/2019     C ORDER                                                                               No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       134.00 12/24/2018     D EXHIBITS                                                                            No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       134.10 04/29/2019     C ORDER                                                                               No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       135.00 12/27/2018     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                           No
                                                                and to Depositions, in Exhibits to Entry No. 123.00
                                       136.00 12/28/2018     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                           No

                                       137.00 12/31/2018     P AFFIDAVIT OF ATTEMPT TO RESOLVE DISCOVERY OBJECTION                                 No
                                                                Plaintiffs' Affidavit of Attempt to Resolve Discovery Objections
                                       138.00 01/03/2019     D NOTICE                                                                              No
                                                                Notice of Filing Objections to Plaintiffs Interrogatories and Requests for
                                                               Productions
                                       139.00 01/03/2019     D OBJECTION                                                                           No
                                                                Defendant Midas Resources Inc.'s Objections to Plaintiffs Discovery Requests
                                       140.00 01/07/2019     D WAIVER - GENERAL                                                                    No

                                       141.00 01/07/2019     C ENTRY ERASED TO CORRECT ERROR                                                       No
                                                                Last Updated: Party Type - 01/07/2019
                                       142.00 01/08/2019     D SPECIAL MOTION TO DISMISS / COUNTERCLAIM / CROSS CLAIM                              Yes
                                                                Special Motion to Dimiss Plaintiff's Complaint
                                       142.10 01/09/2019     C ORDER                                                                               No
                                                                RESULT: Order 1/9/2019 HON BARBARA BELLIS
                                       143.00 01/08/2019     D MEMORANDUM IN SUPPORT OF MOTION                                                     No
                                                                Defendant Midas Resources Inc Memorandum of Law in Support of Motion to
                                                               Dismiss
                                       144.00 01/09/2019     D OBJECTION                                                                           No
                                                                TO PLAINTIFFS' FIRST SET OF SPECIAL INTERROGATORIES &
                                                               REQUESTS FOR PRODUCTION
                                       145.00 01/09/2019     P MEMORANDUM                                                                          No
                                                                Memo of Law & Fact Concern. Ds' Objs to Ps' Req for Limited Disc w Attached
                                                               Meet-&-Confer Affidavit
                                       146.00 01/09/2019     D OBJECTION TO MOTION OR REQUEST FOR DISCOVERY PB CH13                                No
                                                                to Plaintiffs' Revised Discovery Requests re: Motion of Limited Discovery (Entry
                                                               No. 123.00)
                                       147.00 01/10/2019     D OBJECTION TO MOTION OR REQUEST FOR DISCOVERY PB CH13                                No
                                                                Defendant, Cory Sklanka's Objections to Plaintiffs' First Set of Special Int. &
                                                               Req. for Production
                                       148.00 01/10/2019     C ORDER                                                                               No
                                                                RESULT: Order 1/10/2019 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                                6/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 8 of 48
                                       149.00 01/11/2019     P MOTION FOR CLARIFICATION-COURT ORDER                                              No
                                                                Motion for Clarification Re: Order #148.00
                                       150.00 01/11/2019     D AFFIDAVIT                                                                         No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       150.10 04/29/2019     C ORDER                                                                             No
                                                                RESULT: Order 4/29/2019 HON BARBARA BELLIS
                                       151.00 01/15/2019     P MOTION FOR ORDER                                                                  No
                                                                Motion to Clarify Compliance Deadlines
                                       152.00 01/16/2019     P CASEFLOW REQUEST (JD-CV-116)                                                      No
                                                                Status conference to address deposition scheduling
                                       153.00 01/17/2019     D NOTICE TO ALL PARTIES                                                             No
                                                                of Filing of Petition for Certification to Appeal (PET SC 180321)
                                       154.00 01/22/2019     D MOTION FOR PERMISSION TO APPEAR PRO HAC VICE PB 2-16                              No
                                                                for Attorney Marc Randazza
                                                                RESULT: Denied 1/30/2019 HON BARBARA BELLIS
                                       154.10 01/30/2019     C ORDER                                                                             No
                                                                RESULT: Denied 1/30/2019 HON BARBARA BELLIS
                                       155.00 01/22/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                to Motion to Clarify Compliance Deadlines (Entry No. 151.00)
                                       156.00 01/22/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                to Motion for Clarification re: Order #148.00 (Entry No. 149.00)
                                       157.00 01/22/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Opposition to Plaintiffs Motion for Clarification re: Order #148.00
                                       158.00 01/24/2019     D EXHIBITS                                                                          No
                                                                Supplemental Exhibits Regarding Application for Pro Hac Vice Admission
                                                               (Entry No. 154.00)
                                       159.00 01/24/2019     P NOTICE                                                                            No
                                                                Notice of Service of Ps' First Set of Special Interrogatories & Requests for
                                                               Production
                                       160.00 01/30/2019     D MOTION FOR CHANGE OF VENUE                                                        No

                                       161.00 01/30/2019     P NOTICE                                                                            No
                                                                Notice of Filing Ruling of the Chief Justice
                                       162.00 01/30/2019     P MEMORANDUM                                                                        No
                                                                ON DEFENDANTS' APPLICATION FOR APPEARANCE PRO HAC VICE
                                       163.00 01/30/2019     P EXHIBITS                                                                          No
                                                                Exhibit A to Plaintiffs' Memorandum re: Defendants' Application for Appearance
                                                               Pro Hac Vice
                                       164.00 01/31/2019     D REPLY MEMORANDUM                                                                  No
                                                                in support of Application for Pro Hac Vice Appearance of Marc Randazza (Entry
                                                               No. 154.00)
                                       165.00 01/28/2019     C APPELLATE COURT MATERIAL                                                          No
                                                                Statement in Opposition
                                       166.00 01/31/2019     C APPELLATE COURT MATERIAL                                                          No
                                                                Letter denying application for cert
                                       167.00 02/01/2019     D MOTION FOR CHANGE OF VENUE                                                        No
                                                                RESULT: Denied 4/22/2019 HON BARBARA BELLIS
                                       167.10 04/22/2019     C ORDER                                                                             No
                                                                RESULT: Denied 4/22/2019 HON BARBARA BELLIS
                                       168.00 02/05/2019     P MEMORANDUM                                                                        No
                                                                Supplemental Memorandum on the Scope of Individual Depositions
                                       169.00 02/07/2019     D MOTION TO TRANSFER                                                                No
                                                                Motion to Transfer Venue
                                       170.00 02/11/2019     D MEMORANDUM                                                                        No
                                                                Defendant, Cory Sklanka's, Opposition to Plaintiffs' Supplementary Memo on
                                                               Scope of Ind Depositions
                                       171.00 02/13/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Opposition to Supplemental Memorandum Regarding Depositions (Entry No.
                                                               168.00)
                                       172.00 02/13/2019     P OBJECTION TO MOTION                                                               No
                                                                Objection to Def. Halbig's Motion for Venue Change & Sanctions
                                                                RESULT: Sustained 4/22/2019 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                             7/47
4/14/22, 1:08Case
             PM     22-05004         Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 9 of 48
                                       172.10 04/22/2019     C ORDER                                                                             No
                                                                RESULT: Sustained 4/22/2019 HON BARBARA BELLIS
                                       173.00 02/13/2019     D MOTION FOR EXTENSION OF TIME                                                      No
                                                                Re: Defendants' Response to the Plaintiffs? Supplementary Memorandum on
                                                               the Scope of Individual Depo
                                                                RESULT: Granted 2/13/2019 HON BARBARA BELLIS
                                       173.10 02/13/2019     C ORDER                                                                             No
                                                                RESULT: Granted 2/13/2019 HON BARBARA BELLIS
                                       174.00 02/13/2019     P REPLY                                                                             No
                                                                in support of supp memo on the scope of individual depositions
                                       175.00 02/13/2019     D MEMORANDUM                                                                        No
                                                                Response to Pl. Objection to Halbig Venue Motion & Req. for Sanctions (Entry
                                                               No. 172.00).
                                       176.00 02/13/2019     C ORDER                                                                             No
                                                                RESULT: Order 2/13/2019 HON BARBARA BELLIS
                                       177.00 02/15/2019     D MOTION FOR PROTECTIVE ORDER PB 13-5                                               No

                                       178.00 02/19/2019     P OBJECTION TO MOTION                                                               No
                                                                Plaintiffs' Objection to the Jones Defendants' Motion for Protective Order
                                       179.00 02/19/2019     C PRESIDING JUDGE REFERRAL TO COMPLEX LITIGATION DOCKET                             No
                                                                RESULT: Order 3/8/2019 HON JAMES ABRAMS
                                       179.10 03/08/2019     C ORDER                                                                             No
                                                                RESULT: Order 3/8/2019 HON JAMES ABRAMS
                                       180.00 02/19/2019     D MOTION FOR PROTECTIVE ORDER PB 13-5                                               No
                                                                Defendant, Cory Sklanka's, Motion for Entry of Protective Order joining Jones'
                                                               Motion #177.00
                                       181.00 02/20/2019     D REPLY MEMORANDUM                                                                  No
                                                                In Support of Motion for Protective Order (Entry No. 177.00)
                                       182.00 02/20/2019     D CASEFLOW REQUEST (JD-CV-116)                                                      No
                                                                re Motion for Protective Order (Entry No. 177.00)
                                       183.00 02/21/2019     D PROPOSED ORDER                                                                    No
                                                                Protective Order, PB 13-5, per Court Revisions
                                       184.00 02/22/2019     P REPLY                                                                             No
                                                                Ps' Response Concernng Proposed Protective Order
                                       185.00 02/22/2019     D PROPOSED ORDER                                                                    No
                                                                Protective Order, PB 13-5, per Court Revisions, with edit per Plaintiffs'
                                                               Response
                                                                RESULT: Granted 2/22/2019 HON BARBARA BELLIS
                                       185.10 02/22/2019     C ORDER                                                                             No
                                                                RESULT: Granted 2/22/2019 HON BARBARA BELLIS
                                       186.00 02/22/2019     D MOTION FOR EXTENSION OF TIME RE DISCOVERY MOTION OR REQUEST                       No
                                                               PB CH13
                                       187.00 02/22/2019     D OBJECTION                                                                         No
                                                                RESULT: Overruled 4/22/2019 HON BARBARA BELLIS
                                       187.10 04/22/2019     C ORDER                                                                             No
                                                                RESULT: Overruled 4/22/2019 HON BARBARA BELLIS
                                       188.00 02/25/2019     D REPLY                                                                             No

                                       189.00 02/25/2019     D RECORD CORRECTION                                                                 No
                                                                Last Updated: Multiple Field Correction - 02/25/2019
                                       190.00 02/25/2019     P CASEFLOW REQUEST (JD-CV-116)                                                      No
                                                                re: marking off status conference scheduled for 2.26.19
                                                                RESULT: Granted 2/25/2019 HON BARBARA BELLIS
                                       190.10 02/25/2019     C ORDER                                                                             No
                                                                RESULT: Granted 2/25/2019 HON BARBARA BELLIS
                                       191.00 02/25/2019     D NOTICE OF COMPLIANCE                                                              No
                                                                Notice of Compliance with Plaintiff's First Set of Special D&P's
                                       192.00 03/01/2019     P MOTION FOR ORDER OF COMPLIANCE – PB SEC 13-14 (INTERR/PROD –                      No
                                                               13-6/13-9)
                                                                Motion to Compel
                                                                RESULT: Order 3/7/2019 HON BARBARA BELLIS
                                       192.10 03/07/2019     C ORDER                                                                             No
                                                                RESULT: Order 3/7/2019 HON BARBARA BELLIS


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                             8/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 10 of 48
                                       193.00 03/04/2019     P CASEFLOW REQUEST (JD-CV-116)                                                  No
                                                                requesting status conf on 3/7/19 at 2pm
                                       194.00 03/04/2019     D WITHDRAWAL OF MOTION                                                          No
                                                                160
                                       195.00 03/05/2019     P NOTICE                                                                        No
                                                                of Consent to Referral to Complex Litigation Docket
                                       196.00 03/06/2019     D MOTION FOR EXTENSION OF TIME                                                  No
                                                                TO COMPLY WITH DISCOVERY ORDER
                                                                RESULT: Order 3/7/2019 HON BARBARA BELLIS
                                       196.10 03/07/2019     C ORDER                                                                         No
                                                                RESULT: Order 3/7/2019 HON BARBARA BELLIS
                                       197.00 03/07/2019     P MEMORANDUM                                                                    No
                                                                in Response to Jones Defendants' MET to Comply with Discovery of 3.6.19
                                       198.00 03/08/2019     C ORDER                                                                         No
                                                                RESULT: Order 3/8/2019 HON BARBARA BELLIS
                                       199.00 03/08/2019     C ORDER                                                                         No
                                                                RESULT: Order 3/8/2019 HON BARBARA BELLIS
                                       200.33 03/08/2019     C TRANSFERRED FROM SUPERIOR COURT JUDICIAL DISTRICT OF                          No
                                                               FAIRFIELD
                                       201.33 03/08/2019     C TRANSFERRED TO SUPERIOR COURT JUDICIAL DISTRICT OF                            No
                                                               WATERBURY
                                       202.00 03/11/2019     O LETTER                                                                        No
                                                                Atty Randazza letter (only 2 of 3 pages received)
                                       203.00 03/18/2019     D MOTION FOR EXTENSION OF TIME                                                  No
                                                                TO COMPLY WITH DISCOVERY ORDER
                                                                RESULT: Denied 3/20/2019 HON BARBARA BELLIS
                                       203.10 03/20/2019     C ORDER                                                                         No
                                                                RESULT: Denied 3/20/2019 HON BARBARA BELLIS
                                       204.00 03/19/2019     P OBJECTION TO MOTION FOR EXTENSION OF TIME                                     No
                                                                Objection to Jones Ds' Third Motion for Extension of Time
                                                                RESULT: Sustained 3/20/2019 HON BARBARA BELLIS
                                       204.10 03/20/2019     C ORDER                                                                         No
                                                                RESULT: Sustained 3/20/2019 HON BARBARA BELLIS
                                       205.00 03/19/2019     P CASEFLOW REQUEST (JD-CV-116)                                                  No
                                                                Re: #203.00 and #204.00
                                       206.00 03/20/2019     P MOTION FOR ORDER                                                              No
                                                                for sanctions against the Jones defendants
                                       207.00 03/21/2019     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                        Yes

                                       208.00 03/21/2019     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                        Yes
                                                                Corrected version of #207 (which referenced incorrect Motion) - requesting
                                                               adjudication of #206
                                       209.00 03/21/2019     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                        Yes
                                                                Updated Corrected Version of 207 and 208 noting Defense objection
                                       210.00 03/21/2019     D MOTION FOR EXTENSION OF TIME RE DISCOVERY MOTION OR REQUEST                   No
                                                               PB CH13
                                       211.00 03/22/2019     D AFFIDAVIT                                                                     No
                                                                3/20/19 affidavit of M Zimmerman
                                       212.00 03/22/2019     D AFFIDAVIT                                                                     No
                                                                3/22/19 affidavit of A. Jones
                                       213.00 03/25/2019     P MEMORANDUM IN SUPPORT OF MOTION                                               No
                                                                Suppl Memo in Support of Motion for Sanctions Against the Jones Defendants
                                       214.00 03/29/2019     P AFFIDAVIT                                                                     No
                                                                Declaration of David R. Jones 2/22/19
                                                                Last Updated: Multiple Field Correction - 04/01/2019
                                       215.00 04/02/2019     P MEMORANDUM IN SUPPORT OF MOTION                                               No
                                                                Second Supplemental Memorandum in Support of Motion for Sanctions
                                       216.00 04/08/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                        Yes
                                                                Halbig -- motion to recuse #124
                                       217.00 04/10/2019     P NOTICE                                                                        No
                                                                Notice of Filing Served Requests for Production


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          9/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                          Page 11 of 48
                                       218.00 04/11/2019     D NOTICE                                                                    No
                                                                OF FILING OF RESPONSES TO PLAINTIFFS? SPECIAL REQUESTS FOR
                                                               PRODUCTION
                                       219.00 04/11/2019     D NOTICE                                                                    No
                                                                OF FILING OF RESPONSES TO PLAINTIFFS? SPECIAL REQUESTS FOR
                                                               PRODUCTION
                                       220.00 04/11/2019     D NOTICE                                                                    No
                                                                OF FILING OF RESPONSES TO PLAINTIFFS? SPECIAL REQUESTS FOR
                                                               PRODUCTION
                                       221.00 04/11/2019     D NOTICE                                                                    No
                                                                OF FILING OF RESPONSES TO PLAINTIFFS? SPECIAL REQUESTS FOR
                                                               PRODUCTION
                                       222.00 04/11/2019     D NOTICE                                                                    No
                                                                OF FILING OF RESPONSES TO PLAINTIFFS? SPECIAL REQUESTS FOR
                                                               PRODUCTION
                                       223.00 04/11/2019     D MOTION FOR ORDER OF COMPLIANCE – PB SEC 13-14 (INTERR/PROD –              No
                                                               13-6/13-9)
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       223.10 04/30/2019     C ORDER                                                                     No
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       224.00 04/16/2019     D AFFIDAVIT                                                                 No

                                       225.00 04/16/2019     D MOTION FOR DISQUALIFICATION OF JUDICIAL AUTHORITY PB 1-23                 No
                                                                Halbig's renewed and supplemental motion to recuse
                                       225.10 05/08/2019     C ORDER                                                                     No
                                                                RESULT: Denied 5/8/2019 HON BARBARA BELLIS
                                       226.00 04/18/2019     P MEMORANDUM IN OPPOSITION TO MOTION                                        No
                                                                Plaintiffs' Memorandum in Opposition to Defendants' Motion to Compel
                                                               Compliance (#223.00)
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       226.10 04/30/2019     C ORDER                                                                     No
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       227.00 04/22/2019     P MOTION FOR ORDER                                                          No
                                                                Plaintiffs' Motion to Compel Compliance
                                       228.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halbig's motion to recuse & supplemental
                                       229.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halbig's objection to "limited Discovery"
                                       230.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halbig's objection to order re: Halbig Deposition
                                       231.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halbig's objection to exparte communications
                                       232.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halbig's motion sanctions for pretrial publicity
                                       233.00 04/18/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                    Yes
                                                                Halnig's dismiss lack personal & subject matter
                                       234.00 04/22/2019     P MOTION FOR ORDER                                                          No
                                                                for discovery regarding compliance
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       234.10 04/30/2019     C ORDER                                                                     No
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       235.00 04/25/2019     P MOTION FOR ORDER                                                          No
                                                                Re: Additional Motion to Compel Jones Defendants' Responses
                                       236.00 04/29/2019     P MOTION FOR ORDER                                                          No
                                                                Motion for Relief Concerning the Alex Jones False Affidavit
                                       237.00 04/29/2019     P NOTICE                                                                    No
                                                                Notice of Matters Ready for Argument
                                       238.00 04/30/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                        No
                                                                For Further Discovery Proceedings
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS
                                       238.10 04/30/2019     C ORDER                                                                     No
                                                                RESULT: Order 4/30/2019 HON BARBARA BELLIS


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                  10/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 12 of 48
                                       239.00 05/07/2019     D OBJECTION TO MOTION OR REQUEST FOR DISCOVERY PB CH13                        No

                                       240.00 05/14/2019     P MOTION FOR ORDER                                                            No

                                       241.00 05/15/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                FOR REQUEST FOR RELIEF FILED BY PLAINTIFFS
                                       242.00 05/15/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                FOR REQUEST FOR RELIEF FILED BY PLAINTIFFS - REVISED
                                       243.00 05/15/2019     D NOTICE OF COMPLIANCE                                                        No
                                                                Special Requests for Production Provided to Plaintiffs on May 14, 2019
                                       244.00 05/17/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Alex Jones
                                       245.00 05/17/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                FSS
                                       246.00 05/17/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                IW LLC
                                       247.00 05/17/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                IWH LLC
                                       248.00 05/17/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                PPTV
                                       249.00 05/20/2019     P WITHDRAWAL OF MOTION                                                        No
                                                                Re: Motion #244, #245, #246, #247, #248
                                       250.00 05/20/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Alex Jones
                                       251.00 05/20/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Free Speech Systems
                                       252.00 05/20/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Infowars
                                       253.00 05/20/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Infowars Health
                                       254.00 05/20/2019     P NOTICE OF SERVICE OF REQUEST FOR ADMISSION PB 13-22                         No
                                                                to Prison Planet
                                       255.00 05/29/2019     P MOTION FOR ORDER                                                            No
                                                                Motion to Compel Adequate Responses to Ps' Limited, Court-Ordered
                                                               Requests for Production
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       255.10 06/10/2019     C ORDER                                                                       No
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       256.00 05/30/2019     P MOTION FOR ORDER                                                            No
                                                                Motion to Compel Production of Alex Jones' Personal Email Metadata
                                       257.00 06/04/2019     D MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                FOR ADDITIONAL DISCOVERY
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       257.10 06/10/2019     C ORDER                                                                       No
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       258.00 06/10/2019     D OBJECTION                                                                   No
                                                                Jones Defendants' Supplemental Memorandum in Objection to Additional
                                                               Discovery
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       258.10 06/10/2019     C ORDER                                                                       No
                                                                RESULT: Order 6/10/2019 HON BARBARA BELLIS
                                       259.00 06/10/2019     P MOTION FOR ORDER                                                            No
                                                                Supplemental Memo ISO Motion to Compel Adequate Responses to Pltfs
                                                               Limited Court Ordered RFPs
                                       260.00 06/12/2019     D REQUEST                                                                     No
                                                                Clarification of the Court's order entered June 10, 2019
                                                                RESULT: Denied 6/18/2019 HON BARBARA BELLIS
                                       260.10 06/18/2019     C ORDER                                                                       No
                                                                RESULT: Denied 6/18/2019 HON BARBARA BELLIS
                                       261.00 06/14/2019     P CASEFLOW REQUEST (JD-CV-116)                                                No
                                                                requesting status conf on 6/18/19
                                       262.00 06/14/2019     P OBJECTION TO MOTION                                                         No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                   11/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 13 of 48
                                                                  Objection to Jones Defendants' Request for Clarification
                                                                  RESULT: Sustained 6/18/2019 HON BARBARA BELLIS
                                       262.10 06/18/2019     C ORDER                                                                              No
                                                                RESULT: Sustained 6/18/2019 HON BARBARA BELLIS
                                       263.00 06/14/2019     P MOTION FOR ORDER                                                                   No
                                                                Motion for Ruling on Other Outstanding Discovery Issues
                                       264.00 06/17/2019     P NOTICE                                                                             No
                                                                Plaintiffs Motion for Review of Broadcast by Alex Jones Threatening Plaintiffs'
                                                               Counsel
                                       265.00 06/17/2019     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes
                                                                for immediate review of #264 - Notice - P's Motion for Review of Broadcast of
                                                               Alex Jones
                                                                RESULT: Order 6/17/2019 HON BARBARA BELLIS
                                       265.10 06/17/2019     C ORDER                                                                              No
                                                                RESULT: Order 6/17/2019 HON BARBARA BELLIS
                                       266.00 06/17/2019     D OBJECTION TO MOTION                                                                No
                                                                TO COMPEL (DOCKET NOS. 255 AND 259)
                                       267.00 06/17/2019     D MOTION FOR STAY                                                                    No
                                                                RESULT: Denied 6/18/2019 HON BARBARA BELLIS
                                       267.10 06/18/2019     C ORDER                                                                              No
                                                                RESULT: Denied 6/18/2019 HON BARBARA BELLIS
                                       268.00 06/18/2019     P NOTICE                                                                             No
                                                                of filing transcript of Alex Jones' broadcasts of 6/14/19 and 6/15/19 per the
                                                               Court's request
                                       269.00 06/19/2019     C TRANSCRIPT                                                                         No
                                                                Transcript of 6.18.19 hearing
                                       270.00 06/19/2019     D NOTICE OF COMPLIANCE                                                               No
                                                                with Requests to Admit dated May 20, 2019
                                       271.00 06/21/2019     C ORDER                                                                              No
                                                                Disclosure
                                                                RESULT: Order 6/21/2019 HON BARBARA BELLIS
                                       272.00 06/24/2019     D MOTION TO CORRECT                                                                  No
                                                                transcripts error
                                       273.00 06/24/2019     D APPLICATION                                                                        No
                                                                APPLICATION FOR CERTIFICATION TO APPEAL PURSUANT TO C.G.S.
                                                               §52-265a
                                       274.00 06/24/2019     D APPLICATION                                                                        No
                                                                APPLICATION FOR CERTIFICATION TO APPEAL PURSUANT TO C.G.S.
                                                               §52-265a AND ATTACHED APPENDIX
                                       275.00 07/01/2019     C SCHEDULING ORDER                                                                   No
                                                                Agreed to by counsel on 6/18/19 status conference
                                       276.00 07/10/2019     D MOTION FOR STAY                                                                    No
                                                                PROCEEDINGS PENDING DECISION OF THE SUPREME COURT OF
                                                               CONNECTICUT
                                                                RESULT: Granted 8/16/2019 HON BARBARA BELLIS
                                       276.10 08/16/2019     C ORDER                                                                              No
                                                                RESULT: Granted 8/16/2019 HON BARBARA BELLIS
                                       277.00 07/10/2019     D SUPREME COURT ORDER TRANSFERRING APPEAL FROM APPELLATE                             No
                                                               COURT
                                                                incorrect legend code
                                                                Last Updated: Legend Code - 07/31/2019
                                       278.00 07/18/2019     P NOTICE                                                                             No
                                                                Notice of Filing Motion for Rectification
                                                                RESULT: Order 7/31/2019 HON BARBARA BELLIS
                                       278.05 07/25/2019     D APPELLATE COURT APPEAL WITHDRAWN                                                   No

                                       278.10 07/31/2019     C ORDER                                                                              No
                                                                RESULT: Order 7/31/2019 HON BARBARA BELLIS
                                       279.00 08/16/2019     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes

                                       280.00 05/04/2020     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                                       Yes
                                                                RESULT: Order 5/5/2020 HON BARBARA BELLIS
                                       280.10 05/05/2020     C ORDER                                                                              No
                                                                order scheduling 6/9/2020 telephone hearing

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                           12/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                          Page 14 of 48
                                                                 RESULT: Order 5/5/2020 HON BARBARA BELLIS
                                       281.00 05/04/2020     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                              Yes
                                                                RESULT: Order 5/5/2020 HON BARBARA BELLIS
                                       281.10 05/05/2020     C ORDER                                                                     No
                                                                order scheduling 6/9/2020 telephone hearing
                                                                RESULT: Order 5/5/2020 HON BARBARA BELLIS
                                       282.00 05/18/2020     D WITHDRAWAL OF MOTION                                                      No
                                                                TO WITHDRAW AS COUNSEL
                                       283.00 05/28/2020     D WITHDRAWAL OF MOTION                                                      No
                                                                05/04/2020 281.00 MOTION FOR PERMISSION TO WITHDRAW
                                                               APPEARANCE
                                       284.00 05/29/2020     C ORDER                                                                     No
                                                                6/9/2020 hearing is off
                                                                RESULT: Order 5/29/2020 HON BARBARA BELLIS
                                       285.00 06/24/2020     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                              Yes
                                                                AS COUNSEL
                                                                RESULT: Order 6/24/2020 HON BARBARA BELLIS
                                       285.10 06/24/2020     C ORDER                                                                     No
                                                                RESULT: Order 6/24/2020 HON BARBARA BELLIS
                                       286.00 07/07/2020     D MOTION FOR PERMISSION TO APPEAR PRO HAC VICE PB 2-16                      No
                                                                for Attorney Marc J. Randazza
                                                                RESULT: Order 7/7/2020 HON BARBARA BELLIS
                                       286.10 07/07/2020     C ORDER                                                                     No
                                                                RESULT: Order 7/7/2020 HON BARBARA BELLIS
                                       287.00 07/07/2020     D AFFIDAVIT                                                                 No
                                                                of Alex Emric Jones in support of Motion for Pro Hac Vice (286.00)
                                       288.00 07/07/2020     D AFFIDAVIT                                                                 No
                                                                of Marc J Randazza in support of Motion for Pro Hac Vice (286.00)
                                       289.00 07/07/2020     D REQUEST FOR ARGUMENT - NON-ARG MATTER (JD-CV-128)                         No
                                                                Re Motion for Marc Randazza to Appear Pro Hac Vice (286.00)
                                                                RESULT: Denied 7/7/2020 HON BARBARA BELLIS
                                       289.10 07/07/2020     C ORDER                                                                     No
                                                                RESULT: Denied 7/7/2020 HON BARBARA BELLIS
                                       290.00 07/07/2020     C ORDER                                                                     No
                                                                order marking off 7/9/20 hearing
                                                                RESULT: Order 7/7/2020 HON BARBARA BELLIS
                                       290.50 07/23/2020     C APPELLATE COURT MATERIAL                                                  No
                                                                Sanctions orders affirmed
                                       291.00 07/29/2020     C ORDER                                                                     No
                                                                order postponing the 7/30 status conference
                                                                RESULT: Order 7/29/2020 HON BARBARA BELLIS
                                       292.00 08/14/2020     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                              Yes
                                                                as counsel for Cory T. Sklanka
                                                                RESULT: Granted 9/8/2020 HON BARBARA BELLIS
                                       292.10 08/17/2020     C ORDER                                                                     No
                                                                Order scheduling 9/8/20 remote hearing
                                                                RESULT: Order 8/17/2020 HON BARBARA BELLIS
                                       292.20 09/08/2020     C ORDER                                                                     No
                                                                RESULT: Granted 9/8/2020 HON BARBARA BELLIS
                                       293.00 09/15/2020     C APPELLATE COURT MATERIAL                                                  No
                                                                stay denied
                                       294.00 09/15/2020     D APPELLATE COURT MATERIAL                                                  No
                                                                Stay pending USSP denied
                                                                Last Updated: Party Type - 10/02/2020
                                       295.00 09/15/2020     C APPELLATE COURT MATERIAL                                                  No
                                                                reconsideration denied
                                       296.00 10/02/2020     C ORDER                                                                     No
                                                                Order re: Motion to dismiss #108
                                                                RESULT: Order 10/2/2020 HON BARBARA BELLIS
                                       297.00 10/09/2020     D MOTION TO STRIKE                                                          Yes
                                                                Plaintiffs' Complaint
                                                                RESULT: Order 11/18/2021 HON BARBARA BELLIS


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                  13/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 15 of 48
                                       297.10 11/18/2021     C ORDER                                                                        No
                                                                See memorandum of decision #580
                                                                RESULT: Order 11/18/2021 HON BARBARA BELLIS
                                       298.00 10/09/2020     D MEMORANDUM IN SUPPORT OF MOTION                                              No
                                                                in support of Motion to Strike (Entry No. 297)
                                       299.00 10/11/2020     C ORDER                                                                        No
                                                                order re: Halbig dismiss waived
                                                                RESULT: Order 10/11/2020 HON BARBARA BELLIS
                                       300.00 10/23/2020     D BRIEF                                                                        No
                                                                Defendants' Brief in Support of Continued Stay (see Entry No. 296.00)
                                       301.00 10/23/2020     P WITHDRAWAL OF ACTION AGAINST PARTICULAR DEFENDANT(S) – CASE                  No
                                                               REMAINS PENDING
                                                                Withdrawing as to Cory Sklanka
                                       302.00 10/23/2020     P MEMORANDUM                                                                   No
                                                                Concerning the Status of Discovery
                                       303.00 10/26/2020     D WITHDRAWAL OF MOTION                                                         No
                                                                without prejudice subject to the finalization of the settlement
                                       304.00 10/27/2020     C ORDER                                                                        No
                                                                Order: Strike filing dates/ denial request stay
                                                                RESULT: Order 10/27/2020 HON BARBARA BELLIS
                                       305.00 11/06/2020     D OBJECTION TO DEPOSITION                                                      No
                                                                Melinda Flores
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       305.10 04/29/2021     C ORDER                                                                        No
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       306.00 11/06/2020     D OBJECTION TO DEPOSITION                                                      No
                                                                Daria Karpova
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       306.10 04/29/2021     C ORDER                                                                        No
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       307.00 11/09/2020     P REPLY                                                                        No
                                                                to Jones Defs Objections to Depo Notices of Karpova and Flores
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       307.10 04/29/2021     C ORDER                                                                        No
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       308.00 11/12/2020     P SCHEDULING ORDER                                                             No
                                                                proposed scheduling order
                                       309.00 11/12/2020     P MOTION FOR ORDER                                                             No
                                                                Motion to Re-Compel Compliance
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       309.10 05/14/2021     C ORDER                                                                        No
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       310.00 11/16/2020     P MOTION FOR ORDER                                                             No
                                                                re: Procedures for Noticing and Taking Depositions
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       310.10 05/14/2021     C ORDER                                                                        No
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       311.00 11/16/2020     P REPLY MEMORANDUM                                                             No
                                                                Supplement in Support of Reply to Jones Ds' Objections to Notices of
                                                               Deposition
                                       312.00 11/18/2020     D NOTICE OF REMOVAL TO FEDERAL DISTRICT COURT                                  No

                                       313.00 11/18/2020     P AFFIDAVIT OF ATTEMPT TO RESOLVE DISCOVERY OBJECTION                          No

                                       314.00 11/18/2020     D REMOVED TO FEDERAL DISTRICT COURT                                            No
                                       315.00 04/05/2021     C RECORD CORRECTION                                                            No
                                                                Last Updated: Legend Code - 04/07/2021
                                       316.00 03/05/2021     C REMANDED FROM FEDERAL DISTRICT COURT                                         No

                                       317.00 04/06/2021     P WITHDRAWAL OF ACTION AGAINST PARTICULAR DEFENDANT(S) – CASE                  No
                                                               REMAINS PENDING
                                                                As to Wolfgang Halbig
                                       318.00 04/06/2021     P WITHDRAWAL OF ACTION AGAINST PARTICULAR DEFENDANT(S) – CASE                  No
                                                               REMAINS PENDING

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                    14/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 16 of 48
                                                                 As to Midas Resources, Inc.
                                       319.00 04/14/2021     C ORDER                                                                       No
                                                                Order re: status conferences and strike deadlines
                                                                RESULT: Order 4/14/2021 HON BARBARA BELLIS
                                       320.00 04/15/2021     C ORDER                                                                       No
                                                                Scheduling order by Court
                                                                RESULT: Order 4/15/2021 HON BARBARA BELLIS
                                       321.00 04/16/2021     C TRANSCRIPT                                                                  No
                                                                4/14/21 on the record status conference
                                                                Last Updated: Additional Description - 04/16/2021
                                       322.00 04/21/2021     P MOTION FOR DEFAULT -FAILURE TO APPEAR PB 17-20                              No
                                                                as to Genesis Communications Network, Inc.
                                                                RESULT: Granted 4/26/2021 BY THE CLERK
                                       322.10 04/26/2021     C ORDER                                                                       No
                                                                RESULT: Order 4/27/2021 HON BARBARA BELLIS
                                       322.20 04/27/2021     C ORDER                                                                       No
                                                                Court vacates order as done too early
                                                                RESULT: Order 4/27/2021 HON BARBARA BELLIS
                                       323.00 04/23/2021     P MOTION FOR EXTENSION OF TIME TO FILE BRIEF                                  No
                                                                re respond to Jones Ds' Motion to Strike
                                                                RESULT: Order 4/26/2021 HON BARBARA BELLIS
                                       323.10 04/26/2021     C ORDER                                                                       No
                                                                order re: objection due today or motion is granted
                                                                RESULT: Order 4/26/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 04/26/2021
                                       324.00 04/28/2021     D REPLY MEMORANDUM                                                            No
                                                                Reply in Support of Objections (Entry Nos. 305.00 & 306.00)
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       324.10 04/29/2021     C ORDER                                                                       No
                                                                RESULT: Order 4/29/2021 HON BARBARA BELLIS
                                       325.00 04/29/2021     P OBJECTION TO MOTION                                                         No
                                                                Plaintiffs' Objection to the Jones Defendants' Motion to Strike
                                       326.00 05/05/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                         No
                                                                Emergency Motion re May 6 & 7 Depositions
                                       326.10 05/06/2021     C ORDER                                                                       No
                                                                RESULT: Order 5/6/2021 HON BARBARA BELLIS
                                       327.00 05/05/2021     D AFFIDAVIT OF ATTEMPT TO RESOLVE DISCOVERY OBJECTION                         No
                                                                Re: Emergency Motion 326.00
                                       328.00 05/05/2021     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                      Yes
                                                                Re: Emergency Motion for Protective Order 326.00
                                       329.00 05/05/2021     P MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                Memorandum in Response to the Jones Defendants' Emergency Motion for
                                                               Protective Order
                                                                RESULT: Order 5/6/2021 HON BARBARA BELLIS
                                       329.10 05/06/2021     C ORDER                                                                       No
                                                                RESULT: Order 5/6/2021 HON BARBARA BELLIS
                                       330.00 05/05/2021     D REPLY MEMORANDUM                                                            No
                                                                Reply in Support of Emergency Motion for Protective Order
                                       330.10 05/06/2021     C ORDER                                                                       No
                                                                RESULT: Order 5/6/2021 HON BARBARA BELLIS
                                       331.00 05/05/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                Objection to Motion to Re-Compel Compliance, Entry No. 309.00
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       331.10 05/14/2021     C ORDER                                                                       No
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       332.00 05/05/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                          No
                                                                Limited Opposition to Motion re Deposition Procedure, Entry No. 310.00
                                                                RESULT: Order 5/12/2021 HON BARBARA BELLIS
                                       332.10 05/12/2021     C ORDER                                                                       No
                                                                RESULT: Order 5/12/2021 HON BARBARA BELLIS
                                       333.00 05/05/2021     C ORDER                                                                       No
                                                                Order re: 5/6/21 11:00 am hearing
                                                                RESULT: Order 5/5/2021 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                    15/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 17 of 48
                                       334.00 05/05/2021     P MOTION FOR ORDER                                                                 No
                                                                Motion to Compel Compliance with Plaintiffs' Second Set of Requests for
                                                               Production
                                       335.00 05/06/2021     P WITHDRAWAL OF MOTION                                                             No
                                                                #334.00-Ps' Mot to Compel Compliance With Ps' Second Set of Reqs for
                                                               Production
                                       336.00 05/07/2021     C TRANSCRIPT                                                                       No
                                                                Transcript of 5/6/21 status confernce
                                       337.00 05/11/2021     D MOTION FOR STAY                                                                  No
                                                                AND NOTICE OF VIOLATION OF DUTY OF CANDOR
                                                                RESULT: Denied 6/7/2021 HON BARBARA BELLIS
                                       337.10 05/19/2021     C ORDER                                                                            No
                                                                briefing schedule
                                                                RESULT: Order 5/19/2021 HON BARBARA BELLIS
                                       337.20 06/07/2021     C ORDER                                                                            No
                                                                RESULT: Denied 6/7/2021 HON BARBARA BELLIS
                                       338.00 05/12/2021     P REPLY MEMORANDUM                                                                 No
                                                                Reply Memo in Support of Their Motion for Order Re Procedures for Noticing
                                                               and Taking Depositions
                                                                RESULT: Order 5/12/2021 HON BARBARA BELLIS
                                       338.10 05/12/2021     C ORDER                                                                            No
                                                                RESULT: Order 5/12/2021 HON BARBARA BELLIS
                                       339.00 05/14/2021     P REPLY                                                                            No
                                                                Reply in Support of DN 309, Motion to Re-Compel Compliance
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       339.10 05/14/2021     C ORDER                                                                            No
                                                                RESULT: Order 5/14/2021 HON BARBARA BELLIS
                                       340.00 05/19/2021     C ORDER                                                                            No
                                                                filing deadlines from 5/19/21 ststus confernece
                                                                RESULT: Order 5/19/2021 HON BARBARA BELLIS
                                       341.00 05/20/2021     D OBJECTION RE DISCOVERY OR DISCLOSURE                                             No
                                                                OBJECTION TO PLAINTIFFS? SECOND SET OF DISCOVERY REQUESTS
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       341.10 07/21/2021     C ORDER                                                                            No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       341.20 08/24/2021     C ORDER                                                                            No
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       342.00 05/21/2021     D MEMORANDUM                                                                       No
                                                                Defendants' Supplement to Motion for Stay (Entry No. 337.00)
                                       343.00 05/21/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                              No
                                                                And Objections to Haarmann & Riley Deposition Notices
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       343.10 06/01/2021     C ORDER                                                                            No
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       344.00 05/27/2021     P OBJECTION TO MOTION                                                              No
                                                                Objection to Motion for Protective Order
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       344.10 06/01/2021     C ORDER                                                                            No
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       345.00 05/28/2021     P OBJECTION TO MOTION                                                              No
                                                                Objection to Motion for Stay and Claim of Candor Violation
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       345.10 06/07/2021     C ORDER                                                                            No
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       346.00 05/28/2021     P MOTION TO SUBSTITUTE PARTY                                                       No
                                                                Motion to Substitute Estate of Jeremy Richman for Individual Plaintiff Jeremy
                                                               Richman
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       346.10 05/29/2021     C ORDER                                                                            No
                                                                RESULT: Order 5/29/2021 HON BARBARA BELLIS
                                       346.20 06/07/2021     C ORDER                                                                            No
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       347.00 05/28/2021     P MEMORANDUM IN SUPPORT OF MOTION                                                  No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                        16/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 18 of 48
                                                                 Memo of Law in Supp. of Mot. to Substitute Estate of Jeremy Richman for Indiv.
                                                                Pl. Jeremy Richman
                                       348.00 06/01/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                                No
                                                                Emergency Motion for Protective Order re 6-3-21 production
                                                                RESULT: Order 6/2/2021 HON BARBARA BELLIS
                                       348.10 06/02/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/2/2021 HON BARBARA BELLIS
                                       349.00 06/01/2021     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes
                                                                Re Emergency Motion 348.00
                                       350.00 06/01/2021     D REPLY MEMORANDUM                                                                   No
                                                                Re Motion for Protective Order/Objections Entry No. 343.00
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       350.10 06/01/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/1/2021 HON BARBARA BELLIS
                                       351.00 06/01/2021     P OBJECTION TO MOTION                                                                No
                                                                Objection to Jones Defendants' Emergency Motion for Protective Order
                                                                RESULT: Order 6/2/2021 HON BARBARA BELLIS
                                       351.10 06/02/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/2/2021 HON BARBARA BELLIS
                                       352.00 06/02/2021     P OBJECTION TO MOTION                                                                No
                                                                Supplement to Objection to Emergency Motion for Protective Order
                                       353.00 06/04/2021     D REPLY MEMORANDUM                                                                   No
                                                                In Support of Motion to Strike, Entry 297.00
                                       354.00 06/07/2021     D MEMORANDUM                                                                         No
                                                                Response to Motion to Substitute (346.00)
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       354.10 06/07/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       355.00 06/07/2021     D REPLY MEMORANDUM                                                                   No
                                                                Re Motion for Stay/Notice of Lack of Candor Entry 337.00
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       355.10 06/07/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/7/2021 HON BARBARA BELLIS
                                       356.00 06/08/2021     P MOTION TO MODIFY - GENERAL                                                         No
                                                                Motion to Modify Protective Order
                                                                RESULT: Granted 6/16/2021 HON BARBARA BELLIS
                                       356.10 06/16/2021     C ORDER                                                                              No
                                                                RESULT: Granted 6/16/2021 HON BARBARA BELLIS
                                       357.00 06/08/2021     P WITHDRAWAL IN PART                                                                 No
                                                                Pl Jennifer Hensel Executrix of Estate of Jeremy Richman withdraws its claims
                                                               against all defendants
                                       358.00 06/08/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                                No
                                                                Re Corporate Representative Depositions 6/23-24
                                                                RESULT: Denied 6/18/2021 HON BARBARA BELLIS
                                       358.10 06/16/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       358.20 06/18/2021     C ORDER                                                                              No
                                                                RESULT: Denied 6/18/2021 HON BARBARA BELLIS
                                       359.00 06/09/2021     P MOTION FOR EXTENSION OF TIME                                                       No
                                                                Mot for Ext of Time to Object or Otherwise Respond to Re-Notice of Deposition
                                                               of Richard Coan
                                                                RESULT: Order 6/11/2021 HON BARBARA BELLIS
                                       359.10 06/11/2021     C ORDER                                                                              No
                                                                granted through 7/6/21 motions to be timely filed
                                                                RESULT: Order 6/11/2021 HON BARBARA BELLIS
                                       360.00 06/09/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes
                                                                Re Motion for Extension of Time #359.00
                                                                RESULT: Order 6/10/2021 HON BARBARA BELLIS
                                       360.10 06/10/2021     C ORDER                                                                              No
                                                                RESULT: Order 6/10/2021 HON BARBARA BELLIS
                                       361.00 06/10/2021     P MOTION FOR EXTENSION OF TIME                                                       No
                                                                Mot for Ext of Time to Obj or Otherwise Resp to Re-ND of J. Hensel as


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                           17/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                          Page 19 of 48
                                                                Executrix of Est of J. Richman
                                                                 RESULT: Granted 6/16/2021 HON BARBARA BELLIS
                                       361.10 06/16/2021     C ORDER                                                                             No
                                                                RESULT: Granted 6/16/2021 HON BARBARA BELLIS
                                       362.00 06/11/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Opposition to Motion for Extension 359.00
                                                                RESULT: Order 6/11/2021 HON BARBARA BELLIS
                                       362.10 06/11/2021     C ORDER                                                                             No
                                                                see ruling on underlying motion
                                                                RESULT: Order 6/11/2021 HON BARBARA BELLIS
                                       363.00 06/11/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                            Yes
                                                                Re Motion for Extension of Time #361.00
                                                                RESULT: Order 6/14/2021 HON BARBARA BELLIS
                                       363.10 06/14/2021     C ORDER                                                                             No
                                                                order re: 6/16/21 due date objection to ext time
                                                                RESULT: Order 6/14/2021 HON BARBARA BELLIS
                                       364.00 06/11/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                RESULT: Order 6/28/2021 HON BARBARA BELLIS
                                       364.10 06/16/2021     C ORDER                                                                             No
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       364.20 06/28/2021     C ORDER                                                                             No
                                                                RESULT: Order 6/28/2021 HON BARBARA BELLIS
                                       365.00 06/15/2021     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                            Yes
                                                                Motion re Corp Rep Depositions Entry 358.00
                                       366.00 06/16/2021     P MOTION FOR PROTECTIVE ORDER PB 13-5                                               No
                                                                Re: Defendants' Notice of Deposition of Jennifer Hensel as Executrix of Estate
                                                               of Jeremy Richman
                                                                RESULT: Denied 6/30/2021 HON BARBARA BELLIS
                                       366.10 06/16/2021     C ORDER                                                                             No
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       366.20 06/30/2021     C ORDER                                                                             No
                                                                RESULT: Denied 6/30/2021 HON BARBARA BELLIS
                                       367.00 06/16/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Re Executrix Motion for Extension Entry No. 361.00
                                                                RESULT: Overruled 6/16/2021 HON BARBARA BELLIS
                                       367.10 06/16/2021     C ORDER                                                                             No
                                                                RESULT: Overruled 6/16/2021 HON BARBARA BELLIS
                                       368.00 06/16/2021     D MEMORANDUM                                                                        No
                                                                Response to Motion to Modify Entry No. 356.00
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       368.10 06/16/2021     C ORDER                                                                             No
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       369.00 06/16/2021     C ORDER                                                                             No
                                                                due dates for filing protective order
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       369.10 06/16/2021     C ORDER                                                                             No
                                                                order correcting the reply due date
                                                                RESULT: Order 6/16/2021 HON BARBARA BELLIS
                                       370.00 06/16/2021     P OBJECTION TO MOTION                                                               No
                                                                Objection to Motion for Protective Order Regarding Corporate Designee
                                                               Deposition Notices re #358.00
                                                                RESULT: Sustained 6/18/2021 HON BARBARA BELLIS
                                       370.10 06/18/2021     C ORDER                                                                             No
                                                                RESULT: Sustained 6/18/2021 HON BARBARA BELLIS
                                       371.00 06/17/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                Motion for Commission to Take Out of State Deposition of Daniel J. Bidondi
                                                                RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       371.10 07/02/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       372.00 06/17/2021     C TRANSCRIPT                                                                        No
                                                                Transcript of 6/16/21 status conference
                                       373.00 06/18/2021     D REPLY MEMORANDUM                                                                  No
                                                                Re Corporate Representative Depositions Entry No. 358.00

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          18/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 20 of 48
                                       374.00 06/18/2021     P MOTION FOR PROTECTIVE ORDER PB 13-5                                        No
                                                                RESULT: Order 7/1/2021 HON BARBARA BELLIS
                                       374.10 07/01/2021     C ORDER                                                                      No
                                                                Granted in part and denied in part
                                                                RESULT: Order 7/1/2021 HON BARBARA BELLIS
                                       375.00 06/23/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                         No
                                                                Opposition to Motion for Commissions Entry 364.00
                                                                RESULT: Order 6/28/2021 HON BARBARA BELLIS
                                       375.10 06/28/2021     C ORDER                                                                      No
                                                                RESULT: Order 6/28/2021 HON BARBARA BELLIS
                                       376.00 06/25/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                         No
                                                                Opposition to Executrix MPO Entry No. 366.00
                                                                RESULT: Order 6/30/2021 HON BARBARA BELLIS
                                       376.10 06/30/2021     C ORDER                                                                      No
                                                                RESULT: Order 6/30/2021 HON BARBARA BELLIS
                                       377.00 06/28/2021     D NOTICE OF COMPLIANCE                                                       No
                                                                Compliance with First Special Discovery Requests Entry 159.00
                                       378.00 06/28/2021     D MOTION FOR COMMISSION FOR DEPOSITION                                       No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       378.10 07/21/2021     C ORDER                                                                      No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       379.00 06/28/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                         No
                                                                Opposition to Motion re Plaintiff Deposition Entry No 374.00
                                                                RESULT: Order 6/30/2021 HON BARBARA BELLIS
                                       379.10 06/30/2021     C ORDER                                                                      No
                                                                see ruling on underlying motion
                                                                RESULT: Order 6/30/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 06/30/2021
                                       380.00 06/28/2021     P REPLY                                                                      No
                                                                Reply In Supp of Ps' Mots for Comm to Take Out of State Depos
                                       381.00 06/29/2021     P REPLY                                                                      No
                                                                ISO Ps Mot for Prot Ord Against Jones Ds ND J. Hensel as Exec of W/D P
                                                               Estate of Jeremy Richman
                                       382.00 06/30/2021     P REPLY                                                                      No
                                                                ISO Motion for Protective Order Regarding Ps' Depositions
                                       383.00 06/30/2021     P MOTION FOR EXTENSION OF TIME RE DISCOVERY MOTION OR REQUEST                No
                                                               PB CH13
                                                                Answer and Respond to Jones Defendants' ROGS and RFPS dated May 14,
                                                               2021
                                                                RESULT: Order 7/9/2021 HON BARBARA BELLIS
                                       383.10 07/02/2021     C ORDER                                                                      No
                                                                objection due 7/9/21
                                                                RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       383.20 07/09/2021     C ORDER                                                                      No
                                                                Discovery deadlines
                                                                RESULT: Order 7/9/2021 HON BARBARA BELLIS
                                       384.00 07/01/2021     D MOTION FOR COMMISSION FOR DEPOSITION                                       No
                                                                OUT OF STATE
                                       385.00 07/01/2021     D MOTION FOR COMMISSION FOR DEPOSITION                                       No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       385.10 07/21/2021     C ORDER                                                                      No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       385.20 08/04/2021     C ORDER                                                                      No
                                                                RESULT: Denied 8/4/2021 HON BARBARA BELLIS
                                       386.00 07/02/2021     D MEMORANDUM                                                                 No
                                                                Response to Motion for Commission re Bidondi Entry No. 371.00
                                       387.00 07/02/2021     C ORDER                                                                      No
                                                                Genesis strik filing dates
                                                                RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       388.00 07/02/2021     C ORDER                                                                      No
                                                                Plaintiffs' sanctions filing due dates
                                                                RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       389.00 07/02/2021     C ORDER                                                                      No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                  19/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 21 of 48
                                                                 Court's ruling on deposition settlement questions
                                                                 RESULT: Order 7/2/2021 HON BARBARA BELLIS
                                       390.00 07/06/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                Motion for Commission to Take Out-of-State Deposition (Kurt Nimmo)
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       390.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       391.00 07/06/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                Motion for Commission to Take Out of State Deposition of Timothy Fruge
                                       392.00 07/06/2021     P MOTION FOR SANCTIONS – PB SEC 13-4 (EXPERT)                                       No
                                                                Motion for Sanctions re Confidential Disclosure-07-06-2021
                                       393.00 07/06/2021     P WITHDRAWAL OF MOTION                                                              No
                                                                Motion to Withdraw Motion No. 392.00 - Inadvertently filed under the wrong
                                                               heading
                                       394.00 07/06/2021     P MOTION FOR ORDER                                                                  No
                                                                for Sanctions Based on the Jones Defendants' Violation of the Protective Order
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       394.10 08/05/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       395.00 07/06/2021     P MOTION FOR ORDER                                                                  No
                                                                Motion for Sanctions re Flores Production (Redacted)
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       395.10 07/22/2021     C ORDER                                                                             No
                                                                opposition due 7/27/21, reply due 8/3/21
                                                                RESULT: Order 7/22/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 07/29/2021
                                       395.20 08/06/2021     C ORDER                                                                             No
                                                                See ruling on #428.
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       396.00 07/06/2021     P MOTION TO SEAL DOCUMENT                                                           Yes
                                                                Motion to Seal Unredacted Pleading
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       396.10 07/08/2021     C ORDER                                                                             No
                                                                Hearing on 7/21/21
                                                                RESULT: Order 7/8/2021 HON BARBARA BELLIS
                                       396.20 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       397.00 07/06/2021     P MOTION TO QUASH                                                                   No
                                                                Motion to Quash and/or for Protective Order re Richard Coan Subpoena Duces
                                                               Tecum
                                                                RESULT: Order 8/20/2021 HON BARBARA BELLIS
                                       397.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       397.20 08/20/2021     C ORDER                                                                             No
                                                                subject matter jurisdiction issue
                                                                RESULT: Order 8/20/2021 HON BARBARA BELLIS
                                       397.30 11/05/2021     C ORDER                                                                             No
                                                                RESULT: Order 11/5/2021 HON BARBARA BELLIS
                                       398.00 07/07/2021     C TRANSCRIPT                                                                        No
                                                                Transcript of 7/2/21 status conference
                                       399.00 07/07/2021     P MEMORANDUM                                                                        No
                                                                Pls.' Response to Jones Defs.' Motion for Commission for Deposition of
                                                               Wolfgang Halbig
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       399.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       400.00 07/09/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Limited Objection to Motion for Extension Entry No. 383.00
                                                                RESULT: Order 7/9/2021 HON BARBARA BELLIS
                                       400.10 07/09/2021     C ORDER                                                                             No
                                                                see ruling underlying motion
                                                                RESULT: Order 7/9/2021 HON BARBARA BELLIS
                                       401.00 07/12/2021     P OBJECTION TO MOTION                                                               No
                                                                Plaintiffs' Objection to the Jones Defendants' Motion for Commission (Hillary

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          20/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 22 of 48
                                                                Clinton)
                                       401.10 08/04/2021     C ORDER                                                                             No
                                                                RESULT: Sustained 8/4/2021 HON BARBARA BELLIS
                                       402.00 07/13/2021     P OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                Plaintiffs' Omnibus Objections to the Infowars Defendants' Interrogatories to
                                                               Each Plaintiff
                                                                RESULT: Order 8/21/2021 HON BARBARA BELLIS
                                       402.10 08/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/21/2021 HON BARBARA BELLIS
                                       403.00 07/13/2021     P OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                Plaintiffs' Omnibus Objections to the Infowars Defendants' Requests for
                                                               Production to Each Plaintiff
                                                                RESULT: Order 8/21/2021 HON BARBARA BELLIS
                                       403.10 08/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/21/2021 HON BARBARA BELLIS
                                       404.00 07/13/2021     P OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                Plaintiff's Supplemental Objection to Infowar Defendants' RFPs (Marital
                                                               Privilege Objection)
                                       405.00 07/13/2021     P OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                 Plaintiffs' Objection to Infowars Defendants' RFPs for Jennifer Hensel (as
                                                               individual and executrix)
                                                                 RESULT: Order 8/22/2021 HON BARBARA BELLIS
                                       405.10 08/22/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/22/2021 HON BARBARA BELLIS
                                       406.00 07/16/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                Supplemental Motion for Commission for OOS Depo. of Timothy Fruge 7-16-21
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       406.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       407.00 07/16/2021     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                LLC Defendant Objections to 2nd Interrogatories and 3rd RPDs
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       407.10 08/24/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       408.00 07/16/2021     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                Alex Jones Objections to 2nd Interrogatories and 3rd RPDs
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       408.10 08/24/2021     C ORDER                                                                             No
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       409.00 07/16/2021     P MOTION FOR PROTECTIVE ORDER                                                       No
                                                                Plaintiff's Motion for Protective Order Limiting Jones Defendants' Deposition
                                                               Examinations
                                                                RESULT: Order 7/19/2021 HON BARBARA BELLIS
                                       409.10 07/19/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/19/2021 HON BARBARA BELLIS
                                       409.15 07/23/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/23/2021 HON BARBARA BELLIS
                                                                Last Updated: Party Type - 07/23/2021
                                       410.00 07/19/2021     D REPLY                                                                             No
                                                                TO MOTION FOR SANCTIONS BASED ON THE JONES DEFEDANTS'
                                                               VIOLATION OF PROTECTIVE ORDER
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       410.10 08/05/2021     C ORDER                                                                             No
                                                                see ruling on underlying motion
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       411.00 07/20/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                              No
                                                                Suppl. Mot. for Commission to Take Out of State Deposition (Robert Jacobson)
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       411.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Granted 7/21/2021 HON BARBARA BELLIS
                                       412.00 07/20/2021     P REPLY                                                                             No
                                                                Reply ISO Mot for Sanctions Based on the Jones Ds' Violation of the Protective
                                                               Order
                                       413.00 07/20/2021     P MEMORANDUM                                                                        No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         21/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 23 of 48
                                                                 Plaintiffs' Supplemental Memorandum re: Plaintiffs' Motion to File Unredacted
                                                                Pleading Under Seal
                                       414.00 07/20/2021     P MOTION TO MODIFY SCHEDULING ORDER                                                 No
                                                                Plaintiffs' MET to Complete Fact Discovery and Disclose Plaintiffs' Experts
                                                                RESULT: Granted 7/30/2021 HON BARBARA BELLIS
                                       414.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       414.20 07/30/2021     C ORDER                                                                             No
                                                                RESULT: Granted 7/30/2021 HON BARBARA BELLIS
                                       415.00 07/21/2021     D MEMORANDUM                                                                        No
                                                                Response to Motion to Seal Entry No. 396.00
                                       416.00 07/21/2021     D MEMORANDUM                                                                        No
                                                                Response to Motions for Commissions Entry No. 390, 391, 406 & 411
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       416.10 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       417.00 07/21/2021     D MOTION TO STRIKE                                                                  Yes
                                                                m/strike by defendant Genesis Communications Network
                                                                RESULT: Denied 11/24/2021 BY THE CLERK
                                       417.10 11/24/2021     C ORDER                                                                             No
                                                                See memorandum of decision #593
                                                                RESULT: Denied 11/24/2021 BY THE CLERK
                                       418.00 07/21/2021     D MEMORANDUM IN SUPPORT OF MOTION                                                   No
                                                                mem/support m/strike by defendant Genesis Communications Network, Entry
                                                               417.00
                                       419.00 07/21/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/21/2021 HON BARBARA BELLIS
                                       420.00 07/21/2021     P DOCUMENT SEALED                                                                   No
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 07/29/2021
                                       420.10 08/06/2021     C ORDER                                                                             No
                                                                See ruling on #428.
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       421.00 07/21/2021     C ORDER SEALING FILE OR DOCUMENT                                                    Yes

                                       422.00 07/22/2021     C TRANSCRIPT                                                                        No
                                                                July 21, 2021 Hearing
                                       423.00 07/22/2021     O MOTION TO QUASH                                                                   No
                                                                RESULT: Order 8/20/2021 HON BARBARA BELLIS
                                       423.10 07/23/2021     C ORDER                                                                             No
                                                                objection due 8/6/21 and reply due 8/20/21
                                                                RESULT: Order 7/23/2021 HON BARBARA BELLIS
                                       423.20 08/20/2021     C ORDER                                                                             No
                                                                subject matter jurisdiction issue
                                                                RESULT: Order 8/20/2021 HON BARBARA BELLIS
                                       424.00 07/23/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Opposition to Motion to Limit Deposition Examination Entry 409.00
                                       424.10 07/23/2021     C ORDER                                                                             No
                                                                RESULT: Order 7/23/2021 HON BARBARA BELLIS
                                       425.00 07/23/2021     O REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                            Yes
                                                                RESULT: Order 7/23/2021 HON BARBARA BELLIS
                                       425.10 07/23/2021     C ORDER                                                                             No
                                                                Objection due 8/6/21 and reply due 8/20/21
                                                                RESULT: Order 7/23/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 07/26/2021
                                       426.00 07/26/2021     P AFFIDAVIT OF ATTEMPT TO RESOLVE DISCOVERY OBJECTION                               No
                                                                Affidavit Re Attempts to Resolve the Jones Ds' Objs to Ps' Second Reqs for
                                                               Production
                                       427.00 07/27/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Objection to Plaintiffs Motion for Sanction Entry No. 395.00
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       427.10 08/06/2021     C ORDER                                                                             No
                                                                See ruling on #428.
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          22/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 24 of 48
                                       428.00 07/27/2021     P MOTION FOR ORDER                                                                 No
                                                                Amended Motion for Sanctions re Flores Production (Partially Redacted DN
                                                               395.00)
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       428.10 08/06/2021     C ORDER                                                                            No
                                                                part 1
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 08/06/2021
                                       428.11 08/06/2021     C ORDER                                                                            No
                                                                part 2
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       429.00 07/28/2021     P MOTION FOR EXTENSION OF TIME                                                     No
                                                                Motion for Extension of Time to File Objection to D Genesis' Motion to Strike
                                                                RESULT: Granted 8/17/2021 HON BARBARA BELLIS
                                       429.10 08/17/2021     C ORDER                                                                            No
                                                                RESULT: Granted 8/17/2021 HON BARBARA BELLIS
                                       430.00 07/30/2021     D MEMORANDUM                                                                       No
                                                                Response to Motion for Extension of Time (Entry No. 414.00)
                                                                RESULT: Order 7/30/2021 HON BARBARA BELLIS
                                       430.10 07/30/2021     C ORDER                                                                            No
                                                                RESULT: Order 7/30/2021 HON BARBARA BELLIS
                                       431.00 08/03/2021     D REPLY MEMORANDUM                                                                 No
                                                                Reply re Motion for Commission (Clinton) Entry No 384.00 & 385.00
                                       431.10 08/04/2021     C ORDER                                                                            No
                                                                RESULT: Order 8/4/2021 HON BARBARA BELLIS
                                       432.00 08/03/2021     P DOCUMENT SEALED                                                                  No
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       432.10 08/05/2021     C ORDER                                                                            No
                                                                See 7/21/21 court order
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       433.00 08/03/2021     P REPLY                                                                            No
                                                                ISO Plaintiffs' Motion for Sanctions (DN 395.00) (corrected redaction)
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       433.10 08/06/2021     C ORDER                                                                            No
                                                                see ruling on underlying motion
                                                                RESULT: Order 8/6/2021 HON BARBARA BELLIS
                                       434.00 08/04/2021     P WITHDRAWAL OF MOTION                                                             No
                                                                Withdrawal of DN 432.00 Reply ISO Plaintiffs' Motion for Sanctions (due to
                                                               redaction error)
                                       435.00 08/04/2021     P MOTION TO MODIFY SCHEDULING ORDER                                                No
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       435.10 08/05/2021     C ORDER                                                                            No
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       436.00 08/04/2021     P MOTION FOR EXTENSION OF TIME RE DISCOVERY MOTION OR REQUEST                      No
                                                               PB CH13
                                                                re: Service of Compliance to Jones Defts. Rogs.and Non ESI and Non Medical
                                                               Record Disc.
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       436.10 08/05/2021     C ORDER                                                                            No
                                                                see ruling on motion to modify
                                                                RESULT: Order 8/5/2021 HON BARBARA BELLIS
                                       437.00 08/04/2021     P REQUEST FOR ADJUDICATION OF DISCOVERY OR DEPOSITION DISPUTE                      No
                                                               (JD-CV-119)
                                                                re: Motion for Extension of Time Motion No. 436.00
                                       438.00 08/06/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                               No
                                                                Partial Opposition to Motion for Extension (Entry No. 436.00)
                                       439.00 08/06/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                               No
                                                                Opposition to Motions to Quash Subpoena to Trustee (397.00 & 423.00)
                                       439.10 11/05/2021     C ORDER                                                                            No
                                                                see ruling on underlying motion
                                                                RESULT: Order 11/5/2021 HON BARBARA BELLIS
                                       440.00 08/09/2021     D MOTION FOR PERMISSION TO FILE BRIEF                                              No
                                                                For Leave to File Surreply re Motion for Sanction (395.00)
                                                                RESULT: Denied 8/24/2021 HON BARBARA BELLIS


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                        23/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 25 of 48
                                       440.10 08/24/2021     C ORDER                                                                           No
                                                                Moot
                                                                RESULT: Denied 8/24/2021 HON BARBARA BELLIS
                                       441.00 08/10/2021     P MOTION FOR CLARIFICATION-COURT ORDER                                            No

                                       442.00 08/10/2021     P OBJECTION TO MOTION                                                             No
                                                                Limited Opposition to the Jones Ds' Mot for Leave to File Surreply in Opp to
                                                               Motion for Sanctions
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       442.10 08/24/2021     C ORDER                                                                           No
                                                                see ruling on underlying motion
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       443.00 08/12/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                          Yes
                                                                PB Sec 13-10 Notice of Claim of Objections for Adjudication with Attached
                                                               Affidavit
                                       444.00 08/13/2021     D AFFIDAVIT OF ATTEMPT TO RESOLVE DISCOVERY OBJECTION                             No
                                                                Re Plaintiffs Objections (Entry Nos. 397, 402, 403, 404, 405)
                                       445.00 08/17/2021     D MOTION TO DISMISS PB 10-30                                                      Yes
                                                                Dismiss Lafferty for Lack of Subject Matter Juridisdiction
                                                                RESULT: Denied 10/20/2021 HON BARBARA BELLIS
                                       445.10 08/24/2021     C ORDER                                                                           No
                                                                objection 9/17, reply 10/1, argued 10/20
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       445.20 10/20/2021     C ORDER                                                                           No
                                                                Denied with explaination
                                                                RESULT: Denied 10/20/2021 HON BARBARA BELLIS
                                       446.00 08/17/2021     D MEMORANDUM IN SUPPORT OF MOTION                                                 No
                                                                In Support of Motion to Dismiss (Entry No. 445.00)
                                       447.00 08/17/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                          Yes
                                                                Plaintiffs' Request for Adjudication re: DN 429.00 (MET to file Objection to
                                                               Genesis Mot to Strike)
                                       448.00 08/20/2021     P NOTICE                                                                          No
                                                                Pls? Resp. to Defs. Notice of Filing Claim of Obj. for Adjudication
                                       449.00 08/20/2021     P NOTICE                                                                          No
                                                                Notice of Filing Corrected Affidavit for DN 448.00
                                       450.00 08/24/2021     P MOTION FOR ORDER                                                                No
                                                                For Sanctions RE: Google Analytics & Social Medial Data
                                                                RESULT: Order 9/30/2021 HON BARBARA BELLIS
                                       450.10 08/24/2021     C ORDER                                                                           No
                                                                objection 9/14, reply 9/23, surreply 9/25
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       450.20 09/30/2021     C ORDER                                                                           No
                                                                RESULT: Order 9/30/2021 HON BARBARA BELLIS
                                       450.21 09/30/2021     C ORDER                                                                           No
                                                                order 450.20 continued
                                                                RESULT: Order 9/30/2021 HON BARBARA BELLIS
                                       451.00 08/24/2021     C ORDER                                                                           No
                                                                D brief 9/9, P brief 9/24, reply 10/1
                                                                RESULT: Order 8/24/2021 HON BARBARA BELLIS
                                       452.00 08/24/2021     P MOTION TO SEAL DOCUMENT                                                         Yes
                                                                Plaintiffs' Motion to Seal Unredacted Pleading (450.00)
                                                                RESULT: Withdrawn 9/23/2021 HON BARBARA BELLIS
                                       452.10 09/23/2021     C ORDER                                                                           No
                                                                RESULT: Withdrawn 9/23/2021 HON BARBARA BELLIS
                                       453.00 08/25/2021     P OBJECTION TO MOTION                                                             No
                                                                Plaintiffs' Objection to Genesis Defendant's Motion to Strike (DN 417.00)
                                       454.00 09/02/2021     D NOTICE                                                                          No
                                                                Notice of Receipt of Settlement Documents
                                       455.00 09/07/2021     P MOTION TO SEAL DOCUMENT                                                         Yes
                                                                Motion for Order Regarding and to Seal the Jones Defendants' Notice of
                                                               Possession of Documents
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 09/08/2021
                                       455.10 09/23/2021     C ORDER                                                                           No
                                                                objection due 10/7, reply due 10/12

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                        24/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 26 of 48
                                                                  RESULT: Order 9/23/2021 HON BARBARA BELLIS
                                       455.20 10/20/2021     C ORDER                                                                                No
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       456.00 09/09/2021     D MOTION FOR ORDER                                                                     No
                                                                Motion for Order to Overrule Objections to RPD 2 and 3
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       456.10 10/01/2021     C ORDER                                                                                No
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       457.00 09/09/2021     P MOTION FOR ORDER                                                                     No
                                                                Plaintiffs' Motion for Sanctions re Manufactured Trial Balances
                                                                RESULT: Order 11/15/2021 HON BARBARA BELLIS
                                       457.10 09/23/2021     C ORDER                                                                                No
                                                                objection due 10/7, reply due 10/15
                                                                RESULT: Order 9/23/2021 HON BARBARA BELLIS
                                       457.20 11/15/2021     C ORDER                                                                                No
                                                                See ruling entered on the record on today's date
                                                                RESULT: Order 11/15/2021 HON BARBARA BELLIS
                                       458.00 09/14/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                   No
                                                                Opposition to Motion for Sanctions re Analytics Entry No. 450.00
                                                                RESULT: Order 9/30/2021 HON BARBARA BELLIS
                                       458.10 09/30/2021     C ORDER                                                                                No
                                                                see ruling on underlying motion
                                                                RESULT: Order 9/30/2021 HON BARBARA BELLIS
                                       459.00 09/16/2021     P MOTION TO SUBSTITUTE PARTY                                                           No
                                                                Pl E. Lafferty's Mot to Subst R. Coan, Trustee of the Bkrptcy Est for Indiv Pl E.
                                                               Lafferty
                                                                RESULT: Granted 10/20/2021 HON BARBARA BELLIS
                                       459.10 09/23/2021     C ORDER                                                                                No
                                                                objection due 10/7, reply due 10/15
                                                                RESULT: Order 9/23/2021 HON BARBARA BELLIS
                                       459.20 10/20/2021     C ORDER                                                                                No
                                                                RESULT: Granted 10/20/2021 HON BARBARA BELLIS
                                       460.00 09/16/2021     P MEMORANDUM IN SUPPORT OF MOTION                                                      No
                                                                Me in Sup of Pl E. Lafferty's Mot to Sub R. Coan, Trust. of the Bkrpt. Est for
                                                               Indiv Pl E. Lafferty
                                       461.00 09/17/2021     P OBJECTION TO MOTION                                                                  No
                                                                Plaintiffs' Objection to Jones Defendants' Motion to Dismiss (DN 445)
                                       462.00 09/17/2021     P OBJECTION TO MOTION                                                                  No
                                                                Plaintiffs' Objection to Jones Defendants' Motion to Dismiss (DN 445)
                                                               (corrected caption)
                                                                RESULT: Sustained 10/20/2021 HON BARBARA BELLIS
                                       462.10 10/20/2021     C ORDER                                                                                No
                                                                RESULT: Sustained 10/20/2021 HON BARBARA BELLIS
                                       463.00 09/17/2021     P WITHDRAWAL OF OBJECTION                                                              No
                                                                Withdrawal of DN 461.00 (due to incorrect caption)
                                       464.00 09/20/2021     C TRANSCRIPT                                                                           No
                                                                Transcript of 9/17/21 telephonic conference call
                                       465.00 09/22/2021     D REPLY MEMORANDUM                                                                     No
                                                                Defendant Genesis's reply to entry 453.00, objection to m/strike
                                       466.00 09/22/2021     P MOTION TO STRIKE                                                                     Yes
                                                                Plaintiffs' Motion to Strike Genesis's Late Reply Brief (DN 465.00)
                                                                RESULT: Denied 9/23/2021 HON BARBARA BELLIS
                                       466.10 09/23/2021     C ORDER                                                                                No
                                                                RESULT: Denied 9/23/2021 HON BARBARA BELLIS
                                       467.00 09/22/2021     D OBJECTION TO MOTION                                                                  No
                                                                objection to entry 466.00, m/strike reply
                                                                RESULT: Sustained 9/23/2021 HON BARBARA BELLIS
                                       467.10 09/23/2021     C ORDER                                                                                No
                                                                RESULT: Sustained 9/23/2021 HON BARBARA BELLIS
                                       468.00 09/23/2021     P REPLY                                                                                No
                                                                Plaintiffs' Reply ISO Plaintiffs' Motion for Sanctions re Google Analytics
                                                               (450.00)
                                       469.00 09/23/2021     D NOTICE                                                                               No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                             25/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 27 of 48
                                                                 Notice of Filing Trial Court Decision re Entry 456.00
                                       470.00 09/23/2021     D MEMORANDUM                                                                         No
                                                                Response to Motion to Seal Entry No. 452.00
                                       471.00 09/23/2021     P MOTION FOR EXTENSION OF TIME RE DISCOVERY MOTION OR REQUEST                        No
                                                               PB CH13
                                                                PLAINTIFFS? MOTION FOR EXTENSION OF TIME TO COMPLETE
                                                               PRODUCTION OF ESI AND MEDICAL RECORDS
                                                                RESULT: Order 10/5/2021 HON BARBARA BELLIS
                                       471.10 09/23/2021     C ORDER                                                                              No
                                                                objection due 10/1, reply due 10/5
                                                                RESULT: Order 9/23/2021 HON BARBARA BELLIS
                                       471.20 10/05/2021     C ORDER                                                                              No
                                                                granted as to supp. complaince/ PB13-15 cont duty
                                                                RESULT: Order 10/5/2021 HON BARBARA BELLIS
                                       472.00 09/24/2021     D MOTION FOR PERMISSION TO FILE BRIEF                                                No
                                                                Surreply to Motion for Sanctions Entry 450.00
                                                                RESULT: Granted 9/25/2021 HON BARBARA BELLIS
                                       472.10 09/25/2021     C ORDER                                                                              No
                                                                RESULT: Granted 9/25/2021 HON BARBARA BELLIS
                                       473.00 09/24/2021     P OBJECTION RE DISCOVERY OR DISCLOSURE                                               No
                                                                Plaintiffs' Objection to Jones Defendants' Motion to Overrule Objection to RFPs
                                                               2 & 3 (DN 456)
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       473.10 10/01/2021     C ORDER                                                                              No
                                                                See ruling on underlying motion.
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       474.00 09/27/2021     C TRANSCRIPT                                                                         No
                                                                Transcript of 8/24/21 status conference
                                       475.00 09/30/2021     P MOTION FOR PERMISSION TO FILE BRIEF                                                No
                                                                To file objections to Reiland Affidavit
                                       476.00 10/01/2021     D REPLY MEMORANDUM                                                                   No
                                                                Reply re Motion to Overrule - Entry 458.00
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       476.10 10/01/2021     C ORDER                                                                              No
                                                                See ruling on underlying motion.
                                                                RESULT: Order 10/1/2021 HON BARBARA BELLIS
                                       477.00 10/01/2021     D REPLY MEMORANDUM                                                                   No
                                                                Reply re Motion to Dismiss Lafferty - Entry 445.00
                                       478.00 10/01/2021     D MEMORANDUM                                                                         No
                                                                Response to Motion for Extension--Entry 471.00
                                                                RESULT: Order 10/5/2021 HON BARBARA BELLIS
                                       478.10 10/05/2021     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 10/5/2021 HON BARBARA BELLIS
                                       479.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Erica Lafferty's Responses to Defendants' Interrogatories Dated May 14, 2021
                                       480.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                William Aldenberg's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       481.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                David Wheeler's Responses to Defendants' Interrogatories Dated May 14, 2021
                                       482.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Jillian Soto-Marino's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       483.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Carlos M. Soto's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       484.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Carlos Soto-Parisi's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       485.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Francine Wheeler's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       486.00 10/01/2021     P NOTICE OF COMPLIANCE                                                               No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          26/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 28 of 48
                                                                 Donna Soto's Responses to Defendants' Interrogatories Dated May 14, 2021
                                       487.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Jennifer Hensel's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       488.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Jacqueline Bardens's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       489.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Ian Hockley's Responses to Defendants' Interrogatories Dated May 14, 2021
                                       490.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Nicole Hockley's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       491.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Mark Bardens's Responses to Defendants' Interrogatories Dated May 14, 2021
                                       492.00 10/01/2021     P NOTICE OF COMPLIANCE                                                            No
                                                                Carlee Soto-Parisi's Responses to Defendants' Interrogatories Dated May 14,
                                                               2021
                                       493.00 10/01/2021     P WITHDRAWAL IN PART                                                              No
                                                                Withdrawal of DN 484.00 (due to typo in docket description)
                                       494.00 10/05/2021     P MOTION FOR PROTECTIVE ORDER                                                     No
                                                                Motion for Additional Protective Measures to Protect Plaintiffs' Disclosures
                                                                RESULT: Order 10/8/2021 HON BARBARA BELLIS
                                       494.10 10/05/2021     C ORDER                                                                           No
                                                                objection due 10/8/21 by noon, no reply
                                                                RESULT: Order 10/5/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 10/05/2021
                                       494.20 10/08/2021     C ORDER                                                                           No
                                                                RESULT: Order 10/8/2021 HON BARBARA BELLIS
                                       495.00 10/05/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                          Yes
                                                                Request for Adjudication re DN 494.00
                                       496.00 10/05/2021     C TRANSCRIPT                                                                      No
                                                                Transcript of 9/23/21 hearing / status conference
                                       497.00 10/05/2021     P REPLY                                                                           No
                                                                Reply In Support Of Ps' Motion for Ext of Time to Complete Production of ESI
                                                               and Medical Records
                                       498.00 10/07/2021     P MEMORANDUM                                                                      No
                                                                Memorandum in Support of Default Based on the Jones Defendants' Litigation
                                                               Misconduct
                                       499.00 10/07/2021     C ORDER                                                                           No
                                                                re: 10/20/21 hearing on seal/dismiss/sanctions
                                                                RESULT: Order 10/7/2021 HON BARBARA BELLIS
                                       500.00 09/29/2021     O DEPOSIT RECEIVED                                                                No

                                       501.00 10/07/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                              No
                                                                Objection to Motion to Substitute Trustee - Entry 459.00
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       501.10 10/20/2021     C ORDER                                                                           No
                                                                See ruling on underlying motion.
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       502.00 10/07/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                              No
                                                                Objection to Motion for Sanctions re Trial Balances - Entry 457.00
                                                                RESULT: Order 11/15/2021 HON BARBARA BELLIS
                                       502.10 11/15/2021     C ORDER                                                                           No
                                                                See ruling entered on the record on today's date
                                                                RESULT: Order 11/15/2021 HON BARBARA BELLIS
                                       503.00 10/07/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                              No
                                                                Objection to Motion to Seal Notice - Entry 455.00
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       503.10 10/20/2021     C ORDER                                                                           No
                                                                See ruling on underlying motion.
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       504.00 10/08/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                              No
                                                                Opposition to Motion for Protective Measures - Entry 494.00
                                                                RESULT: Order 10/8/2021 HON BARBARA BELLIS


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                        27/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 29 of 48
                                       504.10 10/08/2021     C ORDER                                                                              No
                                                                RESULT: Order 10/8/2021 HON BARBARA BELLIS
                                       505.00 10/12/2021     D NOTICE OF COMPLIANCE                                                               No
                                                                Jones Defendants' Responses to Plaintiffs' Discovery Requests
                                       506.00 10/12/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                David Wheeler's Notice of Compliance Dated 10/8/21 (RE: Defendants'
                                                               Requests for Production)
                                       507.00 10/12/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Jacqueline Barden's Notice of Compliance Dated 10/8/21 (RE: Defendants'
                                                               Requests for Production)
                                       508.00 10/12/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                William Aldenberg's Notice of Compliance Dated 10/8/21 (RE: Defendants'
                                                               Requests for Production)
                                       509.00 10/12/2021     P REPLY                                                                              No
                                                                Re: Plaintiffs' Motion to Seal (455.00) the Jones Defendants' Notice of
                                                               Possession of Documents
                                       510.00 10/14/2021     D MOTION TO SEAL DOCUMENT                                                            Yes
                                                                and Notice of Lodging Jacobson Deposition Transcript
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                                                Last Updated: Party Type - 10/14/2021
                                       510.10 10/20/2021     C ORDER                                                                              No
                                                                Any objection must be filed on or before 11/3/21
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       510.20 11/17/2021     C ORDER                                                                              No
                                                                Granted in part; denied in part
                                                                RESULT: Order 11/17/2021 HON BARBARA BELLIS
                                       510.30 11/29/2021     C ORDER SEALING FILE OR DOCUMENT                                                     Yes
                                                                sealing #595.50 unredacted Jacobson deposition
                                       511.00 10/15/2021     P MOTION FOR EXTENSION OF TIME                                                       No
                                                                Plaintiffs' Motion for One-Day Extension Of Time to file Reply to DN 502.00
                                                                RESULT: Order 10/15/2021 HON BARBARA BELLIS
                                       511.10 10/15/2021     C ORDER                                                                              No
                                                                One day extension granted over objection.
                                                                RESULT: Order 10/15/2021 HON BARBARA BELLIS
                                       511.11 10/15/2021     C ORDER                                                                              No
                                                                Supp. order 10/20/21 due date
                                                                RESULT: Order 10/15/2021 HON BARBARA BELLIS
                                       512.00 10/15/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes
                                                                Plaintiffs' Request for Adjudication re: DN 511.00 (One-day MET for Reply re
                                                               Trial Balances)
                                       513.00 10/15/2021     P REPLY                                                                              No
                                                                Plaintiffs' Reply ISO Motion to Substitute R. Coan, Trustee for Plaintiff Erica
                                                               Lafferty (DN 459.00)
                                       514.00 10/18/2021     P REPLY MEMORANDUM                                                                   No
                                                                Plaintiffs' Reply Re Manufactured Trial Balances (DN 457.00 & DN 502.00)
                                       514.10 01/20/2022     C DOCUMENT SEALED                                                                    No
                                                                Last Updated: Additional Description - 01/20/2022
                                       515.00 10/18/2021     P MOTION TO SEAL DOCUMENT                                                            Yes
                                                                Motion to Seal Unredacted Pleading (DN 514.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                                                Last Updated: Party Type - 10/19/2021
                                       515.10 10/20/2021     C ORDER                                                                              No
                                                                Any objection must be filed on or before 11/3/21
                                                                RESULT: Order 10/20/2021 HON BARBARA BELLIS
                                       515.20 01/19/2022     C ORDER                                                                              No
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                                                Last Updated: Entry Number - 01/19/2022
                                       515.30 01/20/2022     C ORDER SEALING FILE OR DOCUMENT                                                     Yes
                                                                order sealing #514.10
                                       516.00 10/19/2021     C ORDER                                                                              No
                                                                subpoena due date 5:00 pm 10/19/21
                                                                RESULT: Order 10/19/2021 HON BARBARA BELLIS
                                       517.00 10/19/2021     P NOTICE                                                                             No
                                                                Plaintiffs' Notice of Filing Copy of R. Jacobson's Subpoena (pursuant to DN
                                                               516.00)

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                           28/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 30 of 48
                                       518.00 10/20/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                             No
                                                                Opposition to request for entry of default (Entry No. 498.00)
                                       519.00 10/20/2021     D MOTION FOR ORDER                                                               No
                                                                TO RECUSE JUDGE BELLIS
                                                                RESULT: Order 11/4/2021 HON BARBARA BELLIS
                                       519.10 10/21/2021     C ORDER                                                                          No
                                                                Response due 10/27/21, reply due 11/3/21
                                                                RESULT: Order 10/21/2021 HON BARBARA BELLIS
                                       519.20 11/04/2021     C ORDER                                                                          No
                                                                RESULT: Order 11/4/2021 HON BARBARA BELLIS
                                       520.00 10/20/2021     D AFFIDAVIT                                                                      No
                                                                IN SUPPORT OF MOTION TO RECUSE JUDGE BELLIS
                                       521.00 10/20/2021     D AFFIDAVIT                                                                      No

                                       522.00 10/20/2021     D MOTION FOR PERMISSION TO FILE BRIEF                                            No
                                                                For Leave to File Surreply re Trial Balances (Entry No. 457.00) -Redacted
                                                                RESULT: Granted 10/20/2021 HON BARBARA BELLIS
                                       522.10 10/20/2021     C ORDER                                                                          No
                                                                RESULT: Granted 10/20/2021 HON BARBARA BELLIS
                                       522.20 01/20/2022     C DOCUMENT SEALED                                                                No
                                       523.00 10/21/2021     D MOTION TO SEAL DOCUMENT                                                        Yes
                                                                Re Unredacted Affidavit of Robert Roe (Entry 522.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                                                Last Updated: Party Type - 10/21/2021
                                       523.10 01/19/2022     C ORDER                                                                          No
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       523.20 01/20/2022     C ORDER SEALING FILE OR DOCUMENT                                                 Yes
                                                                Order sealing #522.20
                                       524.00 10/21/2021     C ORDER                                                                          No
                                                                Show cause hearing notification
                                                                RESULT: Order 10/21/2021 HON BARBARA BELLIS
                                       525.00 10/22/2021     C TRANSCRIPT                                                                     No
                                                                10/20/21 hearing transcript
                                       526.00 10/22/2021     C ORDER                                                                          No
                                                                order re: 11/5/21 and 11/17/21 hearings
                                                                RESULT: Order 10/22/2021 HON BARBARA BELLIS
                                       527.00 10/22/2021     P MOTION FOR ORDER                                                               No
                                                                For Sanctions RE: Google Analytics & Social Medial Data (Unredacted Version
                                                               of DN 450.00)
                                       528.00 10/22/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                            No
                                                                Re Questions to Joshua Owens
                                                                RESULT: Denied 10/22/2021 HON BARBARA BELLIS
                                       528.10 10/22/2021     C ORDER                                                                          No
                                                                Denied
                                                                RESULT: Denied 10/22/2021 HON BARBARA BELLIS
                                       529.00 10/22/2021     P MOTION FOR ORDER                                                               No
                                                                To Allow Deposition Questioning (and Objection to Defendants' Motion for
                                                               Protective Order)
                                                                RESULT: Granted 10/22/2021 HON BARBARA BELLIS
                                       529.10 10/22/2021     C ORDER                                                                          No
                                                                see ruling on underlying motion
                                                                RESULT: Granted 10/22/2021 HON BARBARA BELLIS
                                       530.00 10/22/2021     P MOTION TO SEAL DOCUMENT                                                        Yes
                                                                Plaintiffs' Motion to Seal Unredacted Pleading (DN 529.00)
                                                                Last Updated: Party Type - 10/25/2021
                                       530.10 11/17/2021     C ORDER                                                                          No
                                                                privacy interest overridden by public's interest
                                                                RESULT: Denied 11/17/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 11/17/2021
                                       531.00 10/22/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Mark Barden's Notice of Compliance Dated 10/22/21
                                       532.00 10/22/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Francine Wheeler's Notice of Compliance Dated 10/22/21 (RE: Defendants'
                                                               Requests for Production)


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                       29/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 31 of 48
                                       533.00 10/25/2021     P NOTICE                                                                        No
                                                                Plaintiffs' Notice of Violation of the Protective Order
                                       534.00 10/26/2021     D MEMORANDUM                                                                    No
                                                                Response to purported Notice of Violation (Entry 533.00)
                                       535.00 10/26/2021     C ORDER                                                                         No
                                                                R. Jacobson depo to Chief Disciplinary Counsel
                                                                RESULT: Order 10/26/2021 HON BARBARA BELLIS
                                       536.00 10/26/2021     O MOTION TO INTERVENE                                                           No
                                                                motion intervene & motion recuse Judge Bellis
                                                                RESULT: Rejected 10/27/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 10/26/2021
                                       536.10 10/27/2021     C ORDER                                                                         No
                                                                RESULT: Rejected 10/27/2021 HON BARBARA BELLIS
                                       537.00 10/26/2021     P MOTION FOR PERMISSION TO FILE BRIEF                                           No
                                                                For Leave to File Attached Surreply Re Manufactured Trial Balances (DN
                                                               457.00)
                                                                RESULT: Granted 10/29/2021 HON BARBARA BELLIS
                                       537.10 10/29/2021     C ORDER                                                                         No
                                                                RESULT: Granted 10/29/2021 HON BARBARA BELLIS
                                       537.20 01/20/2022     C DOCUMENT SEALED                                                               No
                                       538.00 10/26/2021     P MOTION TO SEAL DOCUMENT                                                       Yes
                                                                Plaintiffs' Motion to Seal Unredacted Pleading (DN 537.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                                                Last Updated: Party Type - 10/27/2021
                                       538.10 01/19/2022     C ORDER                                                                         No
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       538.20 01/20/2022     C ORDER SEALING FILE OR DOCUMENT                                                Yes
                                                                order sealing #537.20
                                       539.00 10/27/2021     D MEMORANDUM                                                                    No
                                                                Defendant Genesis Communication's response concerning motion to intervene,
                                                               entry 536.00
                                       540.00 10/27/2021     D MEMORANDUM                                                                    No
                                                                Defendant Genesis Communications's response to codefendants m/recuse,
                                                               entry 519.00
                                       541.00 10/27/2021     P MEMORANDUM IN OPPOSITION TO MOTION                                            No
                                                                Plaintiffs' Memorandum in Opposition to Defendants' Motion to Recuse Judge
                                                               Bellis (DN 519)
                                                                RESULT: Order 11/4/2021 HON BARBARA BELLIS
                                       541.10 11/04/2021     C ORDER                                                                         No
                                                                See ruling on underlying motion
                                                                RESULT: Order 11/4/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 11/04/2021
                                       542.00 10/27/2021     D EXHIBITS                                                                      No
                                                                Statewide Grievance Decision
                                       543.00 10/28/2021     D NOTICE                                                                        No
                                                                Notice of Filing Grievance Decision re Entry Nos. 519.10 & 542.00
                                       544.00 10/28/2021     D EXHIBITS                                                                      No
                                                                A-P AS AN ATTACHMENT TO #521 AFFIDAVIT
                                       545.00 10/29/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                            No
                                                                Opposition to Motion for Leave to File Sur-Surreply - Entry 537.00
                                                                RESULT: Overruled 10/29/2021 HON BARBARA BELLIS
                                       545.10 10/29/2021     C ORDER                                                                         No
                                                                RESULT: Overruled 10/29/2021 HON BARBARA BELLIS
                                       546.00 10/29/2021     P NOTICE                                                                        No
                                                                Notice of Plaintiff R. Coan's Partial Withdrawal of DN 397 & DN 423
                                       547.00 11/01/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                          No
                                                                Plaintiffs' Motion for Commission (Youtube)
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS
                                       547.10 12/14/2021     C ORDER                                                                         No
                                                                court will do in camera review if necessary
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS
                                       548.00 11/01/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                          No
                                                                Plaintiffs' Motion for Commission (Facebook, Inc.)
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                      30/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                          Page 32 of 48
                                       548.10 12/14/2021     C ORDER                                                                            No
                                                                court will do in camera review if necessary
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 12/14/2021
                                       549.00 11/01/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                             No
                                                                ? Plaintiffs? Motion for Commission (Twitter, Inc.)
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS
                                       549.10 12/14/2021     C ORDER                                                                            No
                                                                court will do in camera review if necessary
                                                                RESULT: Granted 12/14/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 12/14/2021
                                       550.00 11/01/2021     P MOTION FOR ORDER                                                                 No
                                                                Motion to Compel Consent to Disclosure of Social Media Data and Analytics
                                                                RESULT: Order 12/14/2021 HON BARBARA BELLIS
                                       550.10 12/14/2021     C ORDER                                                                            No
                                                                order to attach to subpoena
                                                                RESULT: Order 12/14/2021 HON BARBARA BELLIS
                                       551.00 11/03/2021     P NOTICE                                                                           No
                                                                Plaintiffs' Notice of Filing Supplemental Exhibit F (Proposed Subpoena) to DN
                                                               547.00 (Youtube, LLC)
                                       552.00 11/03/2021     P NOTICE                                                                           No
                                                                Plaintiffs' Notice of Filing Supplemental Exhibit E (Proposed Subpoena) to DN
                                                               548.00 (Facebook, Inc)
                                       553.00 11/03/2021     P NOTICE                                                                           No
                                                                Plaintiffs' Notice of Filing Supplemental Exhibit E (Proposed Subpoena) to DN
                                                               549.00 (Twitter, Inc)
                                       554.00 11/03/2021     D REPLY                                                                            No
                                                                IN SUPPORT OF MOTION TO RECUSE JUDGE BELLIS
                                       555.00 11/03/2021     D MEMORANDUM                                                                       No
                                                                Response to Motion to Seal - Entry 515.00
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       555.10 01/19/2022     C ORDER                                                                            No
                                                                see ruling on underlying motion
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       556.00 11/04/2021     D NOTICE OF COMPLIANCE                                                             No
                                                                Compliance with document requests to Owen Shroyer
                                       557.00 11/04/2021     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                        No
                                                                Objections to document requests to Owen Shroyer
                                       558.00 11/05/2021     P NOTICE OF COMPLIANCE                                                             No
                                                                Ian Hockley's Notice of Compliance Dated 11/5/21 (RE: Defendants' Requests
                                                               for Production)
                                       559.00 11/05/2021     P NOTICE OF COMPLIANCE                                                             No
                                                                Carlee Soto Parisi's Notice of Compliance Dated 11/5/21 (RE: Defendants'
                                                               Requests for Production)
                                       560.00 11/05/2021     P NOTICE OF COMPLIANCE                                                             No
                                                                Donna Soto's Notice of Compliance Dated 11/5/21 (RE: Defendants' Requests
                                                               for Production)
                                       561.00 11/05/2021     P NOTICE OF COMPLIANCE                                                             No
                                                                David Wheeler's Notice of Supplemental Compliance Dated 11/5/21 (RE:
                                                               Defendants' IRPs)
                                       562.00 11/05/2021     P NOTICE OF COMPLIANCE                                                             No
                                                                Jacqueline Barden's Notice of Supplemental Compliance Dated 11/5/21 (RE:
                                                               Defendants' IRPs)
                                       563.00 11/05/2021     C ORDER                                                                            No
                                                                due dates re: #547-553 obj due 11/15, reply 11/19
                                                                RESULT: Order 11/5/2021 HON BARBARA BELLIS
                                       564.00 11/09/2021     C TRANSCRIPT                                                                       No
                                                                Transcript 11/5/21 hearing and status conference
                                       565.00 11/09/2021     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                        No
                                                                Objections to document requests to Christopher Daniels
                                       566.00 11/09/2021     D NOTICE OF COMPLIANCE                                                             No
                                                                Compliance with document requests to Christopher Daniels
                                       567.00 11/10/2021     O MOTION TO SEAL DOCUMENT                                                          Yes
                                                                Motion to Seal Response to Order to Show Cause

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         31/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 33 of 48
                                                                  RESULT: Withdrawn 11/29/2021 HON BARBARA BELLIS
                                       567.10 11/29/2021     C ORDER                                                                             No
                                                                RESULT: Withdrawn 11/29/2021 HON BARBARA BELLIS
                                       568.00 11/10/2021     O REPLY                                                                             No
                                                                Response to 10/20/2021 Order to Show Cause, Entry Nos. 525, 526
                                                                RESULT: Order 11/11/2021 HON BARBARA BELLIS
                                       568.10 11/11/2021     C ORDER                                                                             No
                                                                Show caused continued to 12/15/21
                                                                RESULT: Order 11/11/2021 HON BARBARA BELLIS
                                       569.00 11/12/2021     D DOCUMENT SEALED                                                                   No
                                                                RESULT: Denied 11/14/2021 HON BARBARA BELLIS
                                       569.10 11/12/2021     C ORDER                                                                             No
                                                                Sealed by court PB 4-7 personal identifying info
                                                                RESULT: Order 11/12/2021 HON BARBARA BELLIS
                                       569.11 11/15/2021     C ORDER SEALING FILE OR DOCUMENT                                                    Yes

                                       569.20 11/14/2021     C ORDER                                                                             No
                                                                depo questioning stayed for 30 days
                                                                RESULT: Denied 11/14/2021 HON BARBARA BELLIS
                                       570.00 11/12/2021     P MOTION FOR ORDER                                                                  No
                                                                Motion to Allow Questioning of Kit Daniels and Objection to Defs.' Mot. for
                                                               Protective Order
                                                                RESULT: Order 11/14/2021 HON BARBARA BELLIS
                                       570.10 11/14/2021     C ORDER                                                                             No
                                                                see ruling on motion for protective order
                                                                RESULT: Order 11/14/2021 HON BARBARA BELLIS
                                       571.00 11/15/2021     D MOTION FOR PROTECTIVE ORDER PB 13-5                                               No
                                                                Redacted Entry No. 569.00 - Re: Questions to Christopher ?Kit? Daniels
                                       572.00 11/15/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Re: Plaintiffs? Motions for Commission and Order (Entry Nos. 547.00, 548.00,
                                                               549.00, and 550.00)
                                                                RESULT: Order 12/14/2021 HON BARBARA BELLIS
                                       572.10 12/14/2021     C ORDER                                                                             No
                                                                see ruling on underlying motion
                                                                RESULT: Order 12/14/2021 HON BARBARA BELLIS
                                       573.00 11/16/2021     P MOTION FOR PROTECTIVE ORDER                                                       No
                                                                Plaintiffs' Motion for Protective Order re: Halbig Deposition
                                                                RESULT: Denied 12/3/2021 HON BARBARA BELLIS
                                       573.10 11/17/2021     C ORDER                                                                             No
                                                                obj due 11/29/21; reply due 12/3/21
                                                                RESULT: Order 11/17/2021 HON BARBARA BELLIS
                                       573.20 12/03/2021     C ORDER                                                                             No
                                                                RESULT: Denied 12/3/2021 HON BARBARA BELLIS
                                       574.00 11/15/2021     C MEMORANDUM OF DECISION ON MOTION                                                  No
                                                                Court's ruling on the motion for sanctions
                                       575.00 11/16/2021     D MEMORANDUM                                                                        No
                                                                Re: Motion to Seal (Entry No. 530.00 and 538.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       575.10 01/19/2022     C ORDER                                                                             No
                                                                see ruling on underlying motion
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       576.00 11/16/2021     P MOTION FOR PROTECTIVE ORDER                                                       No
                                                                For Additional Protection to Protect Plaintiffs' Disclosures (Expedited
                                                               Adjudication Requested)
                                                                RESULT: Denied 12/3/2021 HON BARBARA BELLIS
                                       576.10 11/17/2021     C ORDER                                                                             No
                                                                obj due 11/29/21; reply due 12/3/21
                                                                RESULT: Order 11/17/2021 HON BARBARA BELLIS
                                       576.20 12/03/2021     C ORDER                                                                             No
                                                                RESULT: Denied 12/3/2021 HON BARBARA BELLIS
                                       577.00 11/17/2021     P MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Plaintiffs' Supp. Memorandum in Opposition to Motions to Seal (515.00, 523.00,
                                                               538.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       577.10 01/19/2022     C ORDER                                                                             No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          32/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                              Page 34 of 48
                                                                  see ruling on underlying motion
                                                                  RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       578.00 11/17/2021     C ORDER                                                                          No
                                                                brief re: seal due D 11/29/21, P 12/3/21
                                                                RESULT: Order 11/17/2021 HON BARBARA BELLIS
                                       579.00 11/18/2021     C TRANSCRIPT                                                                     No
                                                                Transcript 11/15/21 hearing
                                       580.00 11/18/2021     C MEMORANDUM OF DECISION ON MOTION                                               No
                                                                Memorandum of decision re: Strike #297
                                       581.00 11/19/2021     C TRANSCRIPT                                                                     No
                                                                Transcript of 11/17/21 hearing
                                       582.00 11/19/2021     P REPLY                                                                          No
                                                                Pl. Omnibus Reply to Ds' Obj. to Mtns. for Commission and to Mtn to Compel
                                                               Consent - Social Media
                                       583.00 11/19/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Carlos M. Soto's Notice of Compliance Dated 11/19/2021 (RE: Defendants'
                                                               Requests for Production)
                                       584.00 11/19/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Erica Lafferty's Notice of Compliance Dated 11/19/2021 (RE: Defendants'
                                                               Requests for Production)
                                       585.00 11/19/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Jennifer Hensel's Notice of Compliance Dated 11/19/2021 (RE: Defendants'
                                                               Requests for Production)
                                       586.00 11/19/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Nicole Hockley's Notice of Compliance Dated 11/19/2021 (RE: Defendants'
                                                               Requests for Production)
                                       587.00 11/19/2021     P NOTICE OF COMPLIANCE                                                           No
                                                                Jillian Soto-Marino's Notice of Compliance Dated 11/19/2021 (RE Defendants'
                                                               Requests for Production)
                                       588.00 11/19/2021     C ORDER                                                                          No
                                                                motions #547-550 surreply due 12/3/21
                                                                RESULT: Order 11/19/2021 HON BARBARA BELLIS
                                       589.00 11/19/2021     P MOTION FOR PROTECTIVE ORDER PB 13-5                                            No
                                                                Plaintiffs' Motion for Protective Order to Limit Prior Discovery Orders
                                       589.10 11/29/2021     C ORDER                                                                          No
                                                                Reply due 12/13/21
                                                                RESULT: Order 11/29/2021 HON BARBARA BELLIS
                                       590.00 11/19/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                         Yes
                                                                Plaintiffs' Request for Adjudication of DN 589.00
                                       591.00 11/22/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                         Yes
                                                                Plaintiffs' Request for Adjudication of DN 589.00 (re-filed due to error in
                                                               response to Question #5)
                                                                RESULT: Order 11/22/2021 HON BARBARA BELLIS
                                       591.10 11/22/2021     C ORDER                                                                          No
                                                                Objection due by 9:30 am 11/29/21
                                                                RESULT: Order 11/22/2021 HON BARBARA BELLIS
                                       592.00 11/22/2021     P WITHDRAWAL IN PART                                                             No
                                                                Withdrawal of DN 590.00 (due to error in response to Question #5)
                                       592.50 11/23/2021     C PETITION FOR CERTIFICATION                                                     No
                                                                SC DENIAL of petition for certification
                                       593.00 11/24/2021     C MEMORANDUM OF DECISION ON MOTION                                               No
                                                                Decision on motion to strike #417
                                       594.00 11/24/2021     D NOTICE OF DEFENSE PB 17-34                                                     No

                                       595.00 11/26/2021     D NOTICE                                                                         No
                                                                Notice of Filing minimally redacted Jacboson Transcript
                                       595.50 11/29/2021     C DOCUMENT SEALED                                                                No
                                       596.00 11/29/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                             No
                                                                Opposition to MPO Entry Nos. 573.00, 576.00 & 589.00
                                                                RESULT: Order 12/3/2021 HON BARBARA BELLIS
                                       596.10 12/03/2021     C ORDER                                                                          No
                                                                see ruling on underlying motion as to #576
                                                                RESULT: Order 12/3/2021 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 12/03/2021

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                       33/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 35 of 48
                                       597.00 11/29/2021     D OBJECTION TO MOTION                                                                 No
                                                                objection to m/ for protective order, entry 589
                                       598.00 11/29/2021     C ORDER                                                                               No
                                                                Brief due 12/13/21
                                                                RESULT: Order 11/29/2021 HON BARBARA BELLIS
                                       599.00 11/29/2021     O REPLY                                                                               No
                                                                Response to 10/20/2021 Order to Show Cause, Entry Nos. 525, 526
                                       600.00 11/29/2021     D MEMORANDUM                                                                          No
                                                                Defendants? Supp. Brief in Support of Motions to Seal (Nos. 515.00, 523.00,
                                                               538.00)
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       600.10 01/19/2022     C ORDER                                                                               No
                                                                see ruling on underlying motion
                                                                RESULT: Order 1/19/2022 HON BARBARA BELLIS
                                       601.00 11/30/2021     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                           No
                                                                Objections to document requests to Blake Roddy
                                       602.00 11/30/2021     D NOTICE OF COMPLIANCE                                                                No
                                                                Compliance with document requests to Blake Roddy
                                       603.00 12/01/2021     P MOTION TO MODIFY SCHEDULING ORDER                                                   No
                                                                Joint Motion for Limited Extension of Certain Discovery Deadlines
                                                                RESULT: Order 12/1/2021 HON BARBARA BELLIS
                                       603.10 12/01/2021     C ORDER                                                                               No
                                                                approved
                                                                RESULT: Order 12/1/2021 HON BARBARA BELLIS
                                       604.00 12/03/2021     C TRANSCRIPT                                                                          No
                                                                Transcript of 11/29/21 hearing
                                       605.00 12/03/2021     P REQUEST                                                                             No
                                                                Request Pursuant to Conn. Gen. Stat. Sec. 52-220 that Hearing in Damages be
                                                               to a Jury
                                       606.00 12/03/2021     P REPLY                                                                               No
                                                                Reply ISO Motion for Additional Protective Measures to Protect Plaintiffs'
                                                               Disclosures (DN 576.00)
                                       607.00 12/03/2021     P AFFIDAVIT                                                                           No
                                                                Atty. Mattei's Affidavit Re: Parties' Conference to Resolve Objections to Social
                                                               Media Subpoenas
                                       608.00 12/03/2021     D MEMORANDUM                                                                          No
                                                                Surreply in Opposition to Motions for Commission (Entry Nos. 547, 548, 549)
                                       609.00 12/03/2021     P REPLY                                                                               No
                                                                Reply to the Jones Defendants? Opposition to Pls? Mot for Protective Order RE
                                                               Halbig Depo
                                       610.00 12/03/2021     P NOTICE OF COMPLIANCE                                                                No
                                                                David Wheeler's Notice of Supplemental Compliance Dated 12/3/21 (RE:
                                                               Defendants' IRPs)
                                       611.00 12/03/2021     P NOTICE OF COMPLIANCE                                                                No
                                                                Erica Lafferty's Notice of Supplemental Compliance Dated 12/3/2021 (RE:
                                                               Defendants' RPDs)
                                       612.00 12/03/2021     P NOTICE OF COMPLIANCE                                                                No
                                                                Ian Hockley's Notice of Supplemental Compliance Dated 12/3/2021 (RE:
                                                               Defendants' RPDs)
                                       613.00 12/03/2021     P NOTICE OF COMPLIANCE                                                                No
                                                                Nicole Hockley's Notice of Supplemental Compliance Dated 12/3/2021 (RE:
                                                               Defendants' RPDs)
                                       614.00 12/03/2021     P NOTICE OF COMPLIANCE                                                                No
                                                                Jacqueline Barden's Notice of Supplemental Compliance Dated 12/3/2021 (RE:
                                                               Defendants' RPDs)
                                       615.00 12/10/2021     P MOTION FOR EXTENSION OF TIME                                                        No
                                                                To File Reply In Support Of Motion for Protective Order to Limit Prior Discovery
                                                               Orders (DN 589.00)
                                                                RESULT: Granted 12/15/2021 HON BARBARA BELLIS
                                       615.10 12/13/2021     C ORDER                                                                               No
                                                                deadlines discussed at 12/15/21 status conference
                                                                RESULT: Order 12/13/2021 HON BARBARA BELLIS
                                       615.20 12/15/2021     C ORDER                                                                               No
                                                                surreply one week after reply
                                                                RESULT: Granted 12/15/2021 HON BARBARA BELLIS
https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                           34/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                          Page 36 of 48
                                       616.00 12/10/2021     P MOTION FOR ORDER                                                              No
                                                                Motion to Compel Compliance Directed to Genesis
                                                                RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       616.10 12/15/2021     C ORDER                                                                         No
                                                                obj by 12:00 12/29
                                                                RESULT: Order 12/15/2021 HON BARBARA BELLIS
                                       616.20 12/29/2021     C ORDER                                                                         No
                                                                RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       617.00 12/10/2021     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                        Yes
                                                                Plaintiffs' Request for Adjudication re: DN 615.00
                                       618.00 12/13/2021     D MEMORANDUM                                                                    No
                                                                Defendants' Brief on Contesting Liability Post-Default
                                       619.00 12/13/2021     P BRIEF                                                                         No
                                                                Pl. Memorandum of Law Re: Notice of Defenses
                                       620.00 12/13/2021     P OBJECTION                                                                     No
                                                                Objection to the Jones Defendants' Notice of Defenses
                                                                RESULT: Order 12/24/2021 HON BARBARA BELLIS
                                       620.10 12/15/2021     C ORDER                                                                         No
                                                                memorandum by 12/22, response by 12/24
                                                                RESULT: Order 12/15/2021 HON BARBARA BELLIS
                                       620.20 12/24/2021     C ORDER                                                                         No
                                                                notice of defense is stricken
                                                                RESULT: Order 12/24/2021 HON BARBARA BELLIS
                                       621.00 12/15/2021     P MOTION FOR COMMISSION FOR DEPOSITION                                          No
                                                                Plaintiffs' Motion for Commission for Deposition of David Jones
                                                                RESULT: Granted 12/29/2021 HON BARBARA BELLIS
                                       621.10 12/15/2021     C ORDER                                                                         No
                                                                objection by 12/22, reply by 12/29
                                                                RESULT: Order 12/15/2021 HON BARBARA BELLIS
                                       621.20 12/29/2021     C ORDER                                                                         No
                                                                RESULT: Granted 12/29/2021 HON BARBARA BELLIS
                                       622.00 12/15/2021     C ORDER                                                                         No
                                                                Sanctions briefs due 12/31/21 and 1/14/22
                                                                RESULT: Order 12/15/2021 HON BARBARA BELLIS
                                       623.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Francine Wheeler's Notice of Supplemental Compliance Dated 12/17/2021 (Re:
                                                               Defendant's RPDs)
                                       624.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Jacqueline Barden's Notice of Supplemental Compliance Dated 12/17/2021
                                                               (Re: Defendant's RPDs)
                                       625.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Donna Soto's Notice of Supplemental Compliance Dated 12/17/2021 (RE:
                                                               Defendants' RPDs)
                                       626.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                David Wheeler's Notice of Supplemental Compliance Dated 12/17/2021 (RE:
                                                               Defendants' RPDs)
                                       627.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                William Aldenberg's Notice of Supplemental Compliance Dated 12/17/2021
                                                               (RE: Defendants' RPDs)
                                       628.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Mark Barden's Notice of Supplemental Compliance Dated 12/17/2021 (Re:
                                                               Defendant's RPDs)
                                       629.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Nicole Hockley's Notice of Supplemental Compliance Dated 12/17/2021 (RE:
                                                               Defendants' RPDs)
                                       630.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Carlos M. Soto's Notice of Amended & Supplemental Compliance dated
                                                               12/17/21 (RE: Defendants' RPDs)
                                       631.00 12/20/2021     P NOTICE OF COMPLIANCE                                                          No
                                                                Carlee Soto Parisi's Notice of Amended Compliance dated 12/17/21 (RE:
                                                               Defendants' RPDs)
                                       632.00 12/22/2021     D MEMORANDUM                                                                    No
                                                                Defendants' Opposition to Plaintiffs' Motion for Commission re David Jones


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                      35/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 37 of 48
                                                                (Entry No. 621.00)
                                                                 RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       632.10 12/29/2021     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       633.00 12/22/2021     D MEMORANDUM                                                                         No
                                                                Response to Objection to Notice of Defenses (Entry Nos. 594.00, 619.00)
                                                                RESULT: Order 12/24/2021 HON BARBARA BELLIS
                                       633.10 12/24/2021     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 12/24/2021 HON BARBARA BELLIS
                                       634.00 12/23/2021     P REPLY                                                                              No
                                                                Pls' Reply in Support of Pls? Objection to the Jones Defendants? Notice of §17-
                                                               34(a) Defenses
                                       635.00 12/29/2021     D OBJECTION TO MOTION                                                                No
                                                                Genesis's objection to motion to compel, entry 616.00
                                                                RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       635.10 12/29/2021     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 12/29/2021 HON BARBARA BELLIS
                                       636.00 12/29/2021     D MEMORANDUM IN OPPOSITION TO MOTION                                                 No
                                                                Infowars Defendants Opposition to Motion to Compel Genesis Entry 616.00
                                       637.00 12/29/2021     O MEMORANDUM                                                                         No
                                                                DISCIPLINARY COUNSEL?S POST HEARING MEMORANDUM IN AID OF
                                                               DISPOSITION
                                       638.00 12/30/2021     P WITHDRAWAL OF MOTION                                                               No
                                                                Withdrawal of DN 589.00 Plaintiffs' Motion for Protective Order to Limit Prior
                                                               Discovery Orders
                                       639.00 12/30/2021     C TRANSCRIPT                                                                         No
                                                                Transcript of 12/15/21 hearing - morning
                                       640.00 12/30/2021     C TRANSCRIPT                                                                         No
                                                                Transcript of 12/15/21 hearing - afternoon
                                       641.00 12/30/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Jacqueline Barden's Notice of Supplemental Compliance Dated 12/17/2021
                                                               (Re: Defendant's RFPs)
                                       642.00 12/30/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Erica Lafferty's Notice of Supplemental Compliance Dated 12/30/21 (RE:
                                                               Defendants' RFPs)
                                       643.00 12/30/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Donna Soto's Notice of Supplemental Compliance Dated 12/30/21 (RE:
                                                               Defendants' RFPs)
                                       644.00 12/30/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                David Wheeler's Notice of Supplemental Compliance Dated 12/30/21 (RE:
                                                               Defendants' R
                                       645.00 12/30/2021     P NOTICE OF COMPLIANCE                                                               No
                                                                Francine Wheeler's Notice of Supplemental Compliance Dated 12/30/2021 (Re:
                                                               Defendant's RFPs)
                                       646.00 01/05/2022     P MOTION FOR ORDER                                                                   No
                                                                Plaintiffs' Motion Concerning Subpoena to Facebook, Inc.
                                                                RESULT: Granted 1/12/2022 HON BARBARA BELLIS
                                       646.10 01/12/2022     C ORDER                                                                              No
                                                                RESULT: Granted 1/12/2022 HON BARBARA BELLIS
                                       647.00 01/05/2022     P REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                             Yes
                                                                Plaintiffs' Request for Expedited Adjudication of DN 646.00
                                                                RESULT: Order 1/5/2022 HON BARBARA BELLIS
                                       647.10 01/05/2022     C ORDER                                                                              No
                                                                Any objection must be filed on or before 1/12/22.
                                                                RESULT: Order 1/5/2022 HON BARBARA BELLIS
                                       648.00 01/06/2022     D OBJECTION RE DISCOVERY OR DISCLOSURE                                               No
                                                                Response to Re-Notice of Deposition of Blake Roddy
                                       649.00 01/06/2022     D NOTICE OF COMPLIANCE                                                               No
                                                                Re-Notice of Deposition of Blake Roddy
                                       650.00 01/06/2022     C LIST OF EXHIBITS (JD-CL-28/JD-CL-28a)                                              No
                                                                Show cause hearing 10/20/21 & 12/25/21

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                           36/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 38 of 48
                                       651.00 01/12/2022     P MOTION TO MODIFY SCHEDULING ORDER                                                 No
                                                                Plaintiffs' Motion on Consent for the Extension of Certain Discovery Deadlines
                                                                RESULT: Granted 1/12/2022 HON BARBARA BELLIS
                                       651.10 01/12/2022     C ORDER                                                                             No
                                                                RESULT: Granted 1/12/2022 HON BARBARA BELLIS
                                       652.00 01/12/2022     D MEMORANDUM IN OPPOSITION TO MOTION                                                No
                                                                Opposition to Plaintiffs? Motion Concerning Subpoena to Facebook, Inc. (Entry
                                                               No. 646.00)
                                                                RESULT: Order 1/12/2022 HON BARBARA BELLIS
                                       652.10 01/12/2022     C ORDER                                                                             No
                                                                see ruling on underlying motion
                                                                RESULT: Order 1/12/2022 HON BARBARA BELLIS
                                       653.00 01/13/2022     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                         No
                                                                Objections to document requests to Timothy Fruge
                                       654.00 01/13/2022     D NOTICE OF COMPLIANCE                                                              No
                                                                Compliance with document requests to Timothy Fruge
                                       655.00 01/14/2022     O REPLY MEMORANDUM                                                                  No
                                                                Defendant's Response to Disciplinary Counsel's Post Hearing Memorandum in
                                                               Aid of Disposition
                                       656.00 01/14/2022     O REPLY MEMORANDUM                                                                  No
                                                                Corrected Copy of Entry No. 655.00 - D's Resp. to Disciplinary Counsel's Post
                                                               Hearing Memo.
                                       657.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Carlee Soto Parisi's Notice of Supp. Compliance Dated 1/14/22 (RE:
                                                               Defendants' RPDs)
                                       658.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Erica Lafferty's Notice of Supp.Compliance Dated 01/14/2022 (Re: Defendant's
                                                               RPDs)
                                       659.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                David Wheeler's Notice of Supp. Compliance Dated 1/14/22 (RE: Defendants'
                                                               RPDs)
                                       660.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Donna Soto's Notice of Supp. Compliance Dated 1/14/22 (RE: Defendants'
                                                               RPDs)
                                       661.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Francine Wheeler's Notice of Supp. Compliance Dated 01/14/2022 (Re:
                                                               Defendant's RPDs)
                                       662.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Jennifer Hensel's Notice of Supp Compliance Dated 1/14/22 (Re Defendants'
                                                               RPDs)
                                       663.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Jacqueline Barden's Notice of Supp. Compliance Dated 01/14/22 (Re:
                                                               Defendant's RPDs)
                                       664.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Jillian Soto-Marino's Notice of Supp. Compliance Dated 1/14/22 (RE:
                                                               Defendants' RPDs)
                                       665.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                William Aldenberg's Notice of Supp. Compliance Dated 1/14/22 RE:
                                                               Defendants' RPDs
                                       666.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Mark Barden's Notice of Supp. Compliance Dated 1/14/22 (Re Defendants'
                                                               RPDs)
                                       667.00 01/14/2022     P NOTICE OF COMPLIANCE                                                              No
                                                                Nicole Hockley's Notice of Supp. Compliance Dated 1/14/22 (RE: Defendants'
                                                               RPDs)
                                       668.00 01/21/2022     D NOTICE OF COMPLIANCE                                                              No
                                                                Concerning Plaintiffs' I&RP dated 1.24.19 and 5.5. 2021.
                                       669.00 01/24/2022     C ORDER                                                                             No
                                                                hard copy of article due 1/31/22
                                                                RESULT: Order 1/24/2022 HON BARBARA BELLIS
                                       670.00 01/24/2022     O REPLY MEMORANDUM                                                                  No

                                       671.00 01/27/2022     P REPLY MEMORANDUM                                                                  No
                                                                Reply Re Manufactured Trial Balances (copy of #514, re-filed with revised
                                                               redactions per #515.20)

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         37/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 39 of 48
                                       672.00 01/27/2022     P REPLY MEMORANDUM                                                                 No
                                                                Sur-Surreply Re Manufactured Trial Balances (re-filed with revised redactions
                                                               per #538.10)
                                       673.00 01/28/2022     D AFFIDAVIT                                                                        No
                                                                Refiled Affidavit of Robert Roe (522.00) as redacted per Order 523.10
                                       674.00 01/28/2022     C TRANSCRIPT                                                                       No
                                                                transcript of 1/19/22 hearing
                                       675.00 01/28/2022     C MEMORANDUM OF DECISION                                                           No
                                                                Memorandum of Decision re: Show Cause Hearing
                                       675.10 01/28/2022     C NOTICE                                                                           No
                                                                counsel emailed decision on 1/28/22
                                       675.50 03/08/2022     C NOTICE                                                                           No

                                       676.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jillian Soto-Marino's Notice of Supp. Compliance Dated 1/28/22 RE:
                                                               Defendants' RPDs
                                       677.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Mark Barden's Notice of Supp. Compliance Dated 1/28/22 (RE: Defendants'
                                                               RPDs)
                                       678.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Carlee Soto Parisi's Notice of Supplemental Compliance Dated 12/30/21 (RE:
                                                               Defendants' RFPs)
                                       679.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jacqueline Barden's Notice of Supp. Compliance Dated 1/28/22 (RE:
                                                               Defendants' RPDs)
                                       680.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Francine Wheeler's Notice of Supp. Compliance Dated 1/28/22 (RE:
                                                               Defendants' RPDs)
                                       681.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jennifer Hensel's Notice of Supp. Compliance Dated 1/28/22 (RE: Defendants'
                                                               RPDs)
                                       682.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Nicole Hockley's Notice of Supp. Compliance Dated 1/28/22 (RE: Defendants'
                                                               RPDs)
                                       683.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                David Wheeler's Notice of Supp. Compliance Dated 1/28/22 (RE: Defendants'
                                                               RFPs)
                                       684.00 01/28/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Erica Lafferty's Notice of Supplemental Compliance Dated 1/28/22 (RE:
                                                               Defendants' RFPs)
                                       685.00 02/04/2022     D MOTION FOR PROTECTIVE ORDER PB 13-5                                              No
                                                                Re: Plaintiffs' Notice of Deposition of Lydia Zapata Hernandez
                                                                RESULT: Order 2/4/2022 HON BARBARA BELLIS
                                       685.10 02/04/2022     C ORDER                                                                            No
                                                                objection due 2/7/22, reply due 2/9/22
                                                                RESULT: Order 2/4/2022 HON BARBARA BELLIS
                                       686.00 02/04/2022     D REQUEST FOR ADJUDICATION COMPLEX LITIGATION (JD-CL-77)                           Yes
                                                                Re: Motion for Protective Order (Entry No. 685.00)
                                       687.00 02/07/2022     P OBJECTION TO MOTION                                                              No
                                                                Objection to Defendants' Motion for Protective Order Re: Subpoena of Lydia
                                                               Zapata Hernandez
                                       688.00 02/07/2022     D WITHDRAWAL OF MOTION                                                             No
                                                                Re: Motion for Protective Order (Entry No. 685.00)
                                       689.00 02/10/2022     P MOTION FOR COMMISSION FOR DEPOSITION                                             No
                                                                Pl Mot for Commission to Take Out-of-State Deposition of Sprout Social, Inc.
                                                                RESULT: Granted 3/1/2022 HON BARBARA BELLIS
                                       689.10 02/16/2022     C ORDER                                                                            No
                                                                RESULT: Order 2/16/2022 HON BARBARA BELLIS
                                       689.20 03/01/2022     C ORDER                                                                            No
                                                                RESULT: Granted 3/1/2022 HON BARBARA BELLIS
                                       690.00 02/10/2022     P MOTION TO SEAL DOCUMENT                                                          Yes
                                                                Pl Mot to Seal Unredacted Pleading
                                                                RESULT: Order 2/16/2022 HON BARBARA BELLIS
                                       690.10 02/16/2022     C ORDER                                                                            No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         38/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 40 of 48
                                                                 RESULT: Order 2/16/2022 HON BARBARA BELLIS
                                       691.00 02/10/2022     D OBJECTION TO INTERROGATORIES/PRODUCTION PB 13-8 and 13-10                        No
                                                                Objections to Document Requests to Alex Jones
                                                                RESULT: Order 3/8/2022 HON BARBARA BELLIS
                                       691.10 03/08/2022     C ORDER                                                                            No
                                                                RESULT: Order 3/8/2022 HON BARBARA BELLIS
                                       692.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                William Aldenberg's Notice of Supp. Compliance Dated 2/11/22 (RE:
                                                               Defendants' RFPs)
                                       693.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jacqueline Barden's Notice of Supp. Compliance Dated 2/11/22 (RE:
                                                               Defendants' RFPs)
                                       694.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Ian Hockley's Notice of Supp. Compliance Dated 2/11/22 (RE: Defendants'
                                                               RFPs)
                                       695.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Donna Soto's Notice of Supp. Compliance Dated 2/11/22 (RE: Defendants'
                                                               RFPs)
                                       696.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                David Wheeler's Notice of Supp. Compliance Dated 2/11/22 (RE: Defendants'
                                                               RFPs)
                                       697.00 02/14/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Francine Wheeler's Notice of Supp. Compliance Dated 2/11/22 (RE:
                                                               Defendants' RFPs)
                                       698.00 02/14/2022     P MOTION TO MODIFY SCHEDULING ORDER                                                No
                                                                Plaintiffs' Motion on Consent for Extension of Certain Discovery Deadlines
                                                                RESULT: Granted 2/14/2022 HON BARBARA BELLIS
                                       698.10 02/14/2022     C ORDER                                                                            No
                                                                RESULT: Granted 2/14/2022 HON BARBARA BELLIS
                                       699.00 02/15/2022     D NOTICE OF COMPLIANCE                                                             No
                                                                GCN Compliance 2.15.2022
                                       700.00 02/24/2022     D MEMORANDUM                                                                       No
                                                                Response to Plaintiffs' Motion for Leave to File Under Seal (No. 690.00)
                                       701.00 02/24/2022     D MEMORANDUM                                                                       No
                                                                Objection to Motion for Commission to Take Out of State Deposition of Sprout
                                                               Social (No. 689.00)
                                                                RESULT: Overruled 3/1/2022 HON BARBARA BELLIS
                                       701.10 03/01/2022     C ORDER                                                                            No
                                                                RESULT: Overruled 3/1/2022 HON BARBARA BELLIS
                                       702.00 02/25/2022     C TRANSCRIPT                                                                       No
                                                                Transcript of 2/16/22 status conference
                                       703.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Carlee Soto Parisi's Notice of Amended Compliance dated 2/25/22 (RE:
                                                               Defendants' RPDs)
                                       704.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                David Wheeler's Notice of Supp. Compliance Dated 2/25/22 (RE: Defendants'
                                                               RPDs)
                                       705.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Carlos M. Soto's Notice of Supp. Compliance dated 2/25/22 (RE: Defendants'
                                                               RPDs)
                                       706.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Francine Wheeler's Notice of Supp. Compliance Dated 2/25/22 (RE:
                                                               Defendants' RPDs)
                                       707.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jillian Soto Marino's Notice of Supp. Compliance Dated 2/25/22 (RE:
                                                               Defendants' RPDs)
                                       708.00 02/25/2022     P NOTICE OF COMPLIANCE                                                             No
                                                                Jacqueline Barden's Notice of Supp. Compliance Dated 2/25/22 (RE:
                                                               Defendants' RPDs)
                                       709.00 02/28/2022     P REPLY                                                                            No
                                                                Reply In Support of Pls' Mot. for Commission re Sprout Social, Inc.
                                       710.00 03/02/2022     P AFFIDAVIT                                                                        No
                                                                Re: Parties' Conference to Resolve Objections to RFPs in Notice of Deposition


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                        39/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 41 of 48
                                                                for Alex Jones
                                                                 RESULT: Order 3/2/2022 HON BARBARA BELLIS
                                       710.10 03/02/2022     C ORDER                                                                          No
                                                                Defendant's response due by 3/7/22
                                                                RESULT: Order 3/7/2022 HON BARBARA BELLIS
                                       710.11 03/07/2022     C ORDER                                                                          No
                                                                RESULT: Order 3/7/2022 HON BARBARA BELLIS
                                       711.00 03/07/2022     P MOTION FOR ORDER                                                               No
                                                                Plaintiffs' Motion to Amend the Protective Order - On Consent
                                                                RESULT: Granted 3/7/2022 HON BARBARA BELLIS
                                       711.10 03/07/2022     C ORDER                                                                          No
                                                                RESULT: Granted 3/7/2022 HON BARBARA BELLIS
                                       712.00 03/08/2022     D REPLY                                                                          No
                                                                Jones Defendants' Reply To Mattei Affidavit (Dkt. 710.00)
                                                                RESULT: Order 3/8/2022 HON BARBARA BELLIS
                                       712.10 03/08/2022     C ORDER                                                                          No
                                                                The request for adjournment is denied.
                                                                RESULT: Order 3/8/2022 HON BARBARA BELLIS
                                       713.00 03/08/2022     C ORDER                                                                          No
                                                                order re: incorrect appearance issue correction
                                                                RESULT: Order 3/8/2022 HON BARBARA BELLIS
                                       714.00 03/09/2022     C ORDER                                                                          No
                                                                Order re: motion to withdraw appearance
                                                                RESULT: Order 3/9/2022 HON BARBARA BELLIS
                                       715.00 03/09/2022     C ORDER                                                                          No
                                                                Order re: Paz Deposition
                                                                RESULT: Order 3/9/2022 HON BARBARA BELLIS
                                       715.10 03/09/2022     C ORDER                                                                          No
                                                                Amended order: Paz depo 3/15-16
                                                                RESULT: Order 3/9/2022 HON BARBARA BELLIS
                                       716.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Carlee Soto Parisi's Notice of Supp. Compliance Dated 3/11/22 (RE:
                                                               Defendants' RPDs)
                                       717.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Erica Lafferty's Notice of Supp. Compliance Dated 3/11/22 (RE: Defendants'
                                                               RPDs)
                                       718.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Mark Barden's Notice of Supp. Compliance Dated 3/11/22 (RE: Defendants'
                                                               RPDs)
                                       719.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Jillian Soto-Marino's Notice of Supp. Compliance Dated 3/11/22 (RE:
                                                               Defendants' RPDs)
                                       720.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Ian Hockley's Notice of Supp. Compliance Dated 3/11/22 (RE: Defendants'
                                                               RPDs)
                                       721.00 03/11/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Donna Soto's Notice of Supp. Compliance Dated 3/11/22 (RE: Defendants'
                                                               RPDs)
                                       722.00 03/14/2022     P NOTICE OF COMPLIANCE                                                           No
                                                                Carlos M. Soto's Notice of Supp. Compliance Dated 3/11/22 (RE: Defendants'
                                                               RPDs)
                                       723.00 03/15/2022     P NOTICE                                                                         No
                                                                Joint Notice re Production from Social Media Companies
                                       724.00 03/16/2022     D MOTION FOR PERMISSION TO WITHDRAW APPEARANCE                                   Yes
                                                                motion to withdraw appearance for Genesis Communications Network, Inc. with
                                                               draft notice
                                       725.00 03/16/2022     D AFFIDAVIT                                                                      No
                                                                affidavit in support of motion for permission to withdraw appearance, entry
                                                               724.00
                                       726.00 03/16/2022     C TRANSCRIPT                                                                     No
                                                                Transcript of 3/9/22 telephonic status conference
                                                                Last Updated: Additional Description - 03/16/2022
                                       727.00 03/16/2022     C TRANSCRIPT                                                                     No
                                                                Transcript of 3/15/22 telephonic status conference


https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                       40/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                            Page 42 of 48
                                       728.00 03/21/2022     P NOTICE                                                                             No
                                                                Amended Joint Notice re: Production from Social Media Companies
                                       729.00 03/22/2022     D MOTION FOR PROTECTIVE ORDER                                                        No
                                                                Motion for Protective Order Re: Deposition of Alex Jones
                                       730.00 03/22/2022     D MOTION FOR PROTECTIVE ORDER                                                        No
                                                                Amended Motion for Protective Order RE: Deposition of Alex Jones
                                                                RESULT: Order 3/22/2022 HON BARBARA BELLIS
                                       730.10 03/22/2022     C ORDER                                                                              No
                                                                Denied, for the reasons stated on the record
                                                                RESULT: Order 3/22/2022 HON BARBARA BELLIS
                                       731.00 03/22/2022     P OBJECTION TO MOTION                                                                No
                                                                Plaintiffs' Objection to Defendants' Motion for Protective Order Re: Deposition
                                                               of Alex Jones
                                                                RESULT: Order 3/22/2022 HON BARBARA BELLIS
                                       731.10 03/22/2022     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 3/22/2022 HON BARBARA BELLIS
                                       732.00 03/22/2022     C ORDER                                                                              No
                                                                order re: notice in file by 11:00 am 3/23/22
                                                                RESULT: Order 3/22/2022 HON BARBARA BELLIS
                                       733.00 03/23/2022     D NOTICE                                                                             No
                                                                NOTICE TO THE COURT IN COMPLIANCE WITH THE COURT?S MARCH
                                                               22, 2022 (DKT. NO. 732.00)
                                       734.00 03/23/2022     P MOTION FOR ORDER                                                                   No
                                                                Pls' Emergency Motion for Order Requiring Alex Jones to Appear for Deposition
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       734.10 03/23/2022     C ORDER                                                                              No
                                                                brief schedule new motion/hearing 3/30/22 2:00 pm
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 03/23/2022
                                       735.00 03/23/2022     C ORDER                                                                              No
                                                                Order re: Alex Jones Deposition 3/24/22
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       736.00 03/23/2022     D OBJECTION TO MOTION                                                                No
                                                                Objection to Defendants' Motion For A Capias (Dkt. 734.00)
                                       737.00 03/23/2022     C TRANSCRIPT                                                                         No
                                                                Transcript of 3/22/22 hearing/status conference
                                       738.00 03/23/2022     P BRIEF                                                                              No
                                                                Pls' Supplemental Brief re Court's Authority to Issue Capias
                                       739.00 03/23/2022     D OBJECTION TO MOTION                                                                No
                                                                Corrected Objection to Defendants' Motion For A Capias (Dkt. 734.00)
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       739.10 03/23/2022     C ORDER                                                                              No
                                                                see ruling on underlying motion/only argument
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       740.00 03/23/2022     P BRIEF                                                                              No
                                                                Pls' Amended Supplemental Brief with Unreported Cases
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       740.10 03/23/2022     C ORDER                                                                              No
                                                                see ruling on underlying motion
                                                                RESULT: Order 3/23/2022 HON BARBARA BELLIS
                                       741.00 03/23/2022     P MOTION FOR ORDER                                                                   No
                                                                Pls' Amended Emergency Motion for Order Requiring Alex Jones to Appear for
                                                               Deposition
                                       742.00 03/23/2022     P WITHDRAWAL OF MOTION                                                               No
                                                                Withdrawal of Pls' Amended Emergency Motion for Order (DN 741)
                                       743.00 03/23/2022     P MOTION FOR ORDER                                                                   No
                                                                Pls' Amended Emergency Motion for Order Requiring Alex Jones to Appear for
                                                               Deposition
                                                                Last Updated: Result Information - 03/31/2022
                                       743.10 03/31/2022     C RECORD CORRECTION                                                                  No
                                                                RESULT: Order 3/31/2022 HON BARBARA BELLIS
                                                                Last Updated: Additional Description - 03/31/2022
                                       744.00 03/23/2022     D MOTION FOR PROTECTIVE ORDER                                                        No
                                                                Jones' Defendants Renewed Motion For An Emergency Protective Order
https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          41/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 43 of 48
                                                                  RESULT: Denied 3/23/2022 HON BARBARA BELLIS
                                       744.10 03/23/2022     C ORDER                                                                         No
                                                                court available for issues related to this order
                                                                RESULT: Denied 3/23/2022 HON BARBARA BELLIS
                                       745.00 03/24/2022     P NOTICE                                                                        No
                                                                Notice that Alex Jones Did Not Appear at His Court-Ordered Deposition
                                       746.00 03/25/2022     P NOTICE OF COMPLIANCE                                                          No
                                                                David Wheeler's Notice of Supplemental Compliance Dated 3/25/22 (RE:
                                                               Defendants' RPDs)
                                       747.00 03/25/2022     P NOTICE OF COMPLIANCE                                                          No
                                                                Francine Wheeler's Notice of Supplemental Compliance Dated 3/25/22 (RE:
                                                               Defendants' RPDs)
                                       748.00 03/25/2022     P NOTICE OF COMPLIANCE                                                          No
                                                                Ian Hockley's Notice of Supplemental Compliance Dated 3/25/22 (RE:
                                                               Defendants' RPDs)
                                       749.00 03/25/2022     P NOTICE OF COMPLIANCE                                                          No
                                                                Jennifer Hensel's Notice of Supplemental Compliance Dated 3/25/22 (RE:
                                                               Defendants' RPDs)
                                       750.00 03/25/2022     P MOTION FOR CONTEMPT                                                           Yes
                                                                Pls' Mot for Finding of Civil Contempt
                                                                RESULT: Order 3/31/2022 BY THE CLERK
                                       750.10 03/31/2022     C ORDER                                                                         No
                                                                See memorandum of decision #787
                                                                RESULT: Order 3/31/2022 BY THE CLERK
                                       751.00 03/28/2022     D OBJECTION TO MOTION                                                           No
                                                                Jones' Defendants' Objection To Motion For Order & Sanctions (Dkt. 743.00)
                                       752.00 03/28/2022     D OBJECTION TO MOTION                                                           No
                                                                Jones' Defendants' Objection To Motion For Contempt (Dkt. 750.00)
                                       753.00 03/28/2022     C TRANSCRIPT                                                                    No
                                                                transcript of 3/23/22 hearing
                                       754.00 03/29/2022     P MOTION TO MODIFY SCHEDULING ORDER                                             No
                                                                Plaintiffs' Motion on Consent for Extension of Certain Discovery Deadlines
                                       755.00 03/29/2022     P WITHDRAWAL OF MOTION                                                          No
                                                                Withdrawal of DN 754.00 (due to missing Exhibit A)
                                       756.00 03/29/2022     P MOTION TO MODIFY SCHEDULING ORDER                                             No
                                                                Plaintiffs' Motion on Consent for Extension of Certain Discovery Deadlines
                                                                RESULT: Granted 3/29/2022 HON BARBARA BELLIS
                                       756.10 03/29/2022     C ORDER                                                                         No
                                                                RESULT: Granted 3/29/2022 HON BARBARA BELLIS
                                       757.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff David Wheeler
                                       758.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Francine Wheeler
                                       759.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Jacqueline Barden
                                       760.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Mark Barden
                                       761.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Nicole Hockley
                                       762.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Ian Hockley
                                       763.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Jennifer Hensel
                                       764.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Donna Soto
                                       765.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Carlos M. Soto
                                       766.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Carlee Soto-Parisi
                                       767.00 03/29/2022     D OFFER OF COMPROMISE                                                           No
                                                                Offer of Compromise to Plaintiff Jillian Soto

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                      42/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 44 of 48
                                       768.00 03/29/2022     D OFFER OF COMPROMISE                                                                No
                                                                Offer of Compromise to Plaintiff William Aldenberg
                                       769.00 03/29/2022     D OFFER OF COMPROMISE                                                                No
                                                                Offer of Compromise to Plaintiff Richard Coan
                                       770.00 03/29/2022     P MOTION FOR COMMISSION FOR DEPOSITION                                               No
                                                                Plaintiffs' Motion On Consent For Commission To Take Out-of-State Deposition
                                                               of Robert Dew
                                                                RESULT: Granted 3/29/2022 HON BARBARA BELLIS
                                       770.10 03/29/2022     C ORDER                                                                              No
                                                                RESULT: Granted 3/29/2022 HON BARBARA BELLIS
                                       771.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Carlee Soto Parisi's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       772.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Carlos M. Soto's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       773.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff David Wheeler's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       774.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Donna Soto's Rejection of the Jones Defendants' Offer of Compromise
                                       775.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Francine Wheeler's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       776.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Ian Hockley's Rejection of the Jones Defendants' Offer of Compromise
                                       777.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Jacqueline Barden's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       778.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Jennifer Hensel's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       779.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Jillian Soto-Marino's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       780.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Mark Barden's Rejection of the Jones Defendants' Offer of Compromise
                                       781.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff Nicole Hockley's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       782.00 03/30/2022     P NOTICE                                                                             No
                                                                Plaintiff William Aldenberg's Rejection of the Jones Defendants' Offer of
                                                               Compromise
                                       783.00 03/30/2022     P NOTICE                                                                             No
                                                                Erica Lafferty's Rejection of the Jones Defendants' Offer of Compromise
                                       784.00 03/30/2022     P REPLY                                                                              No
                                                                Pls' Reply in Support of Pls' Motion for Finding of Civil Contempt
                                       785.00 03/30/2022     C TRANSCRIPT                                                                         No
                                                                transcript of 3/16/22 hearing
                                       786.00 03/30/2022     D MOTION TO REARGUE/RECONSIDER                                                       No
                                                                Motion For Reconsideration as To the Start of Alex Jones' Daily Escalating Fine
                                                                RESULT: Denied 3/30/2022 HON BARBARA BELLIS
                                       786.10 03/30/2022     C ORDER                                                                              No
                                                                RESULT: Denied 3/30/2022 HON BARBARA BELLIS
                                       787.00 03/30/2022     C MEMORANDUM OF DECISION ON MOTION                                                   No
                                                                Ruling on motion for contempt #750
                                                                Last Updated: Additional Description - 03/31/2022
                                       788.00 03/31/2022     C TRANSCRIPT                                                                         No
                                                                transcript of 3/30/22 hearing
                                       789.00 03/31/2022     D MOTION FOR STAY                                                                    No
                                                                Jones Defendants' Motion For Stay of Execution
                                                                RESULT: Order 4/1/2022 HON BARBARA BELLIS
                                       789.10 04/01/2022     C ORDER                                                                              No

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                          43/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                           Page 45 of 48
                                                                 Stay is denied
                                                                 RESULT: Order 4/1/2022 HON BARBARA BELLIS
                                       790.00 04/01/2022     P OBJECTION TO MOTION                                                             No
                                                                Pls' Objection to Motion for Emergency Stay
                                                                RESULT: Order 4/1/2022 HON BARBARA BELLIS
                                       790.10 04/01/2022     C ORDER                                                                           No
                                                                see ruling on underlying motion
                                                                RESULT: Order 4/1/2022 HON BARBARA BELLIS
                                       791.00 04/04/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Alex Jones' Notice of Compliance With Court's Contempt Order Concerning
                                                               Daily Fines
                                       792.00 04/04/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Notice of Compliance with Court's Contempt Order
                                       793.00 04/06/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Jones Defendants' Notice of Compliance With March 30, 2022 Order
                                       794.00 04/06/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Jones Defendants' 4/6/2022 Notice of Compliance With March 30, 2022 Order
                                       795.00 04/06/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Jones Defendants' 4/6/2022 Notice of Compliance With March 30, 2022 Order
                                       796.00 04/06/2022     D MOTION FOR ORDER                                                                No
                                                                Jones Defendants' Motion For Order Declaring Alex Jones Purged Of Contempt
                                                               And Returning Paid Fines
                                       797.00 04/07/2022     D NOTICE OF COMPLIANCE                                                            No
                                                                Jones Defendants' Supplement To Notice of Compliance (Dkt. 794.00) & Motion
                                                               For Order (Dkt. 796.00)
                                       798.00 04/07/2022     P MOTION TO MODIFY SCHEDULING ORDER                                               No
                                                                Plaintiffs' Motion on Consent for Extension of Certain Discovery Deadlines
                                       798.10 04/07/2022     C ORDER                                                                           No
                                                                798 is granted
                                                                RESULT: Granted 4/7/2022 HON BARBARA BELLIS
                                       799.00 04/07/2022     C ORDER                                                                           No
                                                                Briefing re: awarded fees and costs of deposition
                                                                RESULT: Order 4/7/2022 HON BARBARA BELLIS
                                       800.00 04/08/2022     P REPLY                                                                           No
                                                                Plaintiffs' Response to the Jones Defendants' Motion for Order (DN 796 &797)
                                       801.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Carlee Soto Parisi's Notice of Supplemental Compliance Dated 4/8/22 (RE:
                                                               Defendants' RFPs)
                                       802.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Donna Soto's Notice of Supplemental Compliance Dated 4/8/22 (RE:
                                                               Defendants' RFPs)
                                       803.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Erica Lafferty's Notice of Supp. Compliance Dated 4/8/22 (RE: Defendants'
                                                               RPDs)
                                       804.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Jillian Soto-Marino's Notice of Supplemental Compliance Dated 4/8/22 (Re:
                                                               Defendants' RPDs)
                                       805.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Jacqueline Barden's Notice of Supplemental Compliance Dated 4/8/22 (RE:
                                                               Defendants' RPDs)
                                       806.00 04/08/2022     P NOTICE OF COMPLIANCE                                                            No
                                                                Jennifer Hensel's Notice of Supplemental Compliance Dated 4/8/22 (RE:
                                                               Defendants' RPDs)
                                       807.00 04/12/2022     P MOTION FOR EXTENSION OF TIME                                                    No
                                                                Pls' MET re Briefing Schedule wrt Costs and Fees Awarded at 3/30/22
                                                               Contempt Hrg., On Consent
                                                                RESULT: Order 4/13/2022 HON BARBARA BELLIS
                                       807.10 04/13/2022     C ORDER                                                                           No
                                                                granted by agreement
                                                                RESULT: Order 4/13/2022 HON BARBARA BELLIS
                                       808.00 04/14/2022     P NOTICE                                                                          No
                                                                Supplemental Filing In Support Of Plaintiffs' Request for Fees and Costs


                                                                                     Consolidated Cases

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                       44/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1            Filed 04/18/22    Entered
                                                                    Case Detail       04/18/22 13:21:46
                                                                                - UWY-CV18-6046436-S                    Page 46 of 48
                                       Docket Number               Case Caption                                             Disp. Date     Disp. Code

                                       UWY-CV18-6046437S           SHERLACH, WILLIAM v. JONES, ALEX Et Al

                                       UWY-CV18-6046438S           SHERLACH, WILLIAM Et Al v. JONES, ALEX EMRIC Et Al


                                                                             Scheduled Court Dates as of 04/13/2022
                                                             UWY-CV18-6046436-S - LAFFERTY, ERICA Et Al v. JONES, ALEX EMRIC Et Al
                                            #   Date              Time            Event Description                                  Status
                                        1       04/18/2022        10:00AM         Remote Trial Management Conference                 Off
                                        2       04/20/2022        10:00AM         Remote Hearing                                     Proceeding
                                        3       04/20/2022        10:00AM         Remote Status Conference                           Proceeding
                                        4       05/03/2022        10:00AM         Jury Selection / Trial                             Off
                                        5       05/04/2022        10:00AM         Jury Selection / Trial                             Off
                                        6       05/05/2022        10:00AM         Jury Selection / Trial                             Off
                                        7       05/06/2022        10:00AM         Jury Selection / Trial                             Off
                                        8       05/10/2022        10:00AM         Jury Selection / Trial                             Off
                                        9       05/11/2022        10:00AM         Jury Selection / Trial                             Off
                                        10      05/12/2022        10:00AM         Jury Selection / Trial                             Off
                                        11      05/13/2022        10:00AM         Jury Selection / Trial                             Off
                                        12      05/17/2022        10:00AM         Jury Selection / Trial                             Off
                                        13      05/18/2022        10:00AM         Jury Selection / Trial                             Off
                                        14      05/18/2022        10:00AM         Remote Status Conference                           Proceeding
                                        15      05/19/2022        10:00AM         Jury Selection / Trial                             Off
                                        16      05/20/2022        10:00AM         Jury Selection / Trial                             Off
                                        17      05/24/2022        10:00AM         Jury Selection / Trial                             Off
                                        18      05/25/2022        10:00AM         Jury Selection / Trial                             Off
                                        19      05/26/2022        10:00AM         Jury Selection / Trial                             Off
                                        20      05/27/2022        10:00AM         Jury Selection / Trial                             Off
                                        21      06/01/2022        10:00AM         Jury Selection / Trial                             Off
                                        22      06/02/2022        10:00AM         Jury Selection / Trial                             Off
                                        23      06/03/2022        10:00AM         Jury Selection / Trial                             Off
                                        24      06/07/2022        10:00AM         Jury Selection / Trial                             Off
                                        25      06/08/2022        10:00AM         Jury Selection / Trial                             Off
                                        26      06/09/2022        10:00AM         Jury Selection / Trial                             Off
                                        27      06/10/2022        10:00AM         Jury Selection / Trial                             Off
                                        28      06/14/2022        10:00AM         Remote Pretrial Conference                         Proceeding
                                        29      06/15/2022        10:00AM         Jury Selection / Trial                             Off
                                        30      06/15/2022        10:00AM         Remote Status Conference                           Proceeding
                                        31      06/16/2022        10:00AM         Jury Selection / Trial                             Off
                                        32      06/17/2022        10:00AM         Jury Selection / Trial                             Off
                                        33      06/21/2022        10:00AM         Jury Selection / Trial                             Off
                                        34      06/22/2022        10:00AM         Jury Selection / Trial                             Off
                                        35      06/23/2022        10:00AM         Jury Selection / Trial                             Off
                                        36      06/24/2022        10:00AM         Jury Selection / Trial                             Off
                                        37      06/28/2022        10:00AM         Jury Selection / Trial                             Off
                                        38      06/29/2022        10:00AM         Jury Selection / Trial                             Off
                                        39      06/30/2022        10:00AM         Jury Selection / Trial                             Off
                                        40      07/01/2022        10:00AM         Jury Selection / Trial                             Off
                                        41      07/05/2022        10:00AM         Remote Hearing                                     Proceeding
                                        42      07/18/2022        10:00AM         Remote Trial Management Conference                 Proceeding
                                        43      08/02/2022        10:00AM         Jury Selection / Trial                             Proceeding
                                        44      08/03/2022        10:00AM         Jury Selection / Trial                             Proceeding

https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         45/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1       Filed 04/18/22    Entered
                                                               Case Detail       04/18/22 13:21:46
                                                                           - UWY-CV18-6046436-S                             Page 47 of 48
                                        45   08/04/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        46   08/05/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        47   08/09/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        48   08/10/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        49   08/11/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        50   08/12/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        51   08/16/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        52   08/17/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        53   08/18/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        54   08/19/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        55   08/23/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        56   08/24/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        57   08/25/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        58   08/26/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        59   08/30/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        60   08/31/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        61   09/01/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        62   09/02/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        63   09/06/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        64   09/07/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        65   09/08/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        66   09/09/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        67   09/13/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        68   09/14/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        69   09/15/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        70   09/16/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        71   09/20/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        72   09/21/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        73   09/22/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        74   09/23/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        75   09/27/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        76   09/28/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        77   09/29/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        78   09/30/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        79   10/04/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        80   10/05/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        81   10/06/2022        10:00AM        Jury Selection / Trial                                 Proceeding
                                        82   10/07/2022        10:00AM        Jury Selection / Trial                                 Proceeding


                                       Judicial ADR events may be heard in a court that is different from the court where the case is filed. To check
                                       location information about an ADR event, select the Notices tab on the top of the case detail page.

                                       Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as scheduled
                                       court events on this page. The date displayed on this page is the date of the calendar.

                                       All matters on a family support magistrate calendar are presumed ready to go forward.

                                       The status of a Short Calendar matter is not displayed because it is determined by markings made by the
                                       parties as required by the calendar notices and the civil standing orders. Markings made electronically can
                                       be viewed by those who have electronic access through the Markings History link on the Civil/Family Menu in
                                       E-Services. Markings made by telephone can only be obtained through the clerk’s office. If more than one
                                       motion is on a single short calendar, the calendar will be listed once on this page. You can see more
                                       information on matters appearing on Short Calendars and Family Support Magistrate Calendars by going to
                                       the Civil/Family Case Look-Up page and Short Calendars By Juris Number or By Court Location .

                                      Periodic changes to terminology that do not affect the status of the case may be made.

                                      This list does not constitute or replace official notice of scheduled court events.
https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                         46/47
4/14/22, 1:08Case
              PM    22-05004        Doc 1-1          Filed 04/18/22    Entered
                                                                  Case Detail       04/18/22 13:21:46
                                                                              - UWY-CV18-6046436-S                                             Page 48 of 48
                                      Disclaimer: For civil and family cases statewide, case information can be seen on this website for a period of
                                      time, from one year to a maximum period of ten years, after the disposition date. If the Connecticut Practice
                                      Book Sections 7-10 and 7-11 give a shorter period of time, the case information will be displayed for the
                                      shorter period. Under the Federal Violence Against Women Act of 2005, cases for relief from physical abuse,
                                      foreign protective orders, and motions that would be likely to publicly reveal the identity or location of a
                                      protected party may not be displayed and may be available only at the courts.




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                                                                                         Page Created on 4/14/2022 at 1:55:30 PM




https://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=UWYCV186046436S                                                                                         47/47
